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                              23-15531



                               IN THE


 United States Court of Appeals
                   FOR THE NINTH CIRCUIT


                    d
             DAVID ANTHONY STEBBINS , DBA Acerthorn,

                               —v.—
                                                         Plaintiff-Appellant,


       KARL POLANO , DBA Sofiannp; FREDERICK ALLISON ,
       DBA InitiativeKookie; RAUL MATEAS , DBA TGP482;
ALPHABET, INC .; DISCORD , INC .; AMAZON .COM , INC .; YOU TUBE , LLC,
                                                      Defendants-Appellees,
                              —and—

                          FACEBOOK , INC .,
                                                                 Defendant.


           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF CALIFORNIA



           SUPPLEMENTAL EXCERPTS OF RECORD
                     VOLUME II OF III
                  (Pages SER11 to SER201)

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                                                                                                                                            (2 of 191)
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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       DAVID A. STEBBINS,                                 Case No. 21-cv-04184-JSW
                                                          Plaintiff,
                                   8
                                                                                              ORDER DENYING MOTION FOR
                                                   v.                                         PROTECTIVE ORDER
                                   9
                                           KARL POLANO, et al.,                               Re: Dkt. No. 179
                                  10
                                                          Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Plaintiff’s motion for a protective order and sanctions is DENIED. Plaintiff offers no legal

                                  14     or factual basis supporting his request. Moreover, Plaintiff’s motion fails to comply with local

                                  15     rules and this Court’s order regarding his response to the administrative motion relate.

                                  16            IT IS SO ORDERED.

                                  17     Dated: March 2, 2023

                                  18                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  19                                                     United States District Judge
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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7         DAVID A. STEBBINS,                                Case No. 21-cv-04184-JSW
                                                          Plaintiff,
                                   8
                                                                                               ORDER DENYING MOTION FOR
                                                    v.                                         RECONSIDERATION AND RECUSAL
                                   9
                                                                                               AND DENYING MOTION FOR
                                  10         KARL POLANO, et al.,                              RELIEF FROM JUDGMENT
                                                          Defendants.                          Re: Dkt. Nos. 159, 162, 165
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             Now before the Court for consideration are the motion for reconsideration and recusal and

                                  14     motion for relief from judgment filed by Plaintiff David Stebbins (“Plaintiff”). The Court has

                                  15     considered the parties’ papers, relevant legal authority, and the record in this case, and it finds the

                                  16     motion suitable for disposition without oral argument.1 See N.D. Civ. L.R. 7-1(b). For the

                                  17     following reasons, the Court DENIES Plaintiff’s motions.

                                  18                                               BACKGROUND

                                  19             On July 11, 2022, this Court issued an order denying Plaintiff’s motion for default

                                  20     judgment and dismissing the action. That same day, before the Court entered judgment, Plaintiff

                                  21     filed a motion requesting leave to file a motion for reconsideration. The Court entered judgment

                                  22     on July 11, 2022. Plaintiff subsequently filed a motion to set aside judgment pursuant to Federal

                                  23     Rule of Civil Procedure 60(b). In his motions, Plaintiff moves the Court to reconsider its order

                                  24     dismissing the case for five reasons: (1) the Court erred in permitting intervention by Alphabet and

                                  25     YouTube; (2) the Court erred in finding the work showed minimal creativity; (3) the Court

                                  26     improperly considered certain “inadmissible” allegations in the SAC in finding the work lacked

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                                  28      The Court also considered Plaintiff’s supplemental filing in support of both motions. (See Dkt.
                                         No. 165.)
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                                   1     human authorship; (4) the Court ignored evidence that showed the Copyright Office was aware of

                                   2     errors in his registration application; and (5) the Court failed to adjudicate the claim for

                                   3     misrepresentation under 512(f)(1).

                                   4             The Court will address additional facts as necessary in the analysis.

                                   5                                                      ANALYSIS

                                   6     A.      The Court Denies Plaintiff’s Motion for Reconsideration.
                                   7             Under Local Rule 7-9(b), reconsideration may be sought only if one of the following

                                   8     circumstances exists: (1) a material difference in fact or law from that presented to the Court prior

                                   9     to issuance of the order that is the subject of the motion for reconsideration; (2) new material facts

                                  10     or a change of law occurring after issuance of such order; or (3) a manifest failure by the Court to

                                  11     consider material facts or dispositive legal arguments that were presented to the Court before

                                  12     issuance of such order. N.D. Civ. L.R. 7-9(b)(1)-(3). In addition, a party seeking leave to file a
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                                  13     motion for reconsideration may not reargue any written or oral argument previously asserted to the

                                  14     Court. Civ. L.R. 7-9(c); see also United States v. Hector, 368 F. Supp. 2d 1060, 1063 (C.D. Cal.

                                  15     2005), rev’d on other grounds, 474 F.3d 1150 (9th Cir. 2007) (“A motion for reconsideration is

                                  16     not to be used as a means to reargue a case or to ask a court to rethink a decision it has made.”).

                                  17             Plaintiff brings his motion pursuant to Local Rule 7-9(b)(3), asserting manifest failure to

                                  18     consider material facts or dispositive legal arguments presented to the Court. Plaintiff seeks

                                  19     reconsideration of five aspects of the Court’s order dismissing this action. First, Plaintiff asserts

                                  20     that the Court erred in permitting Alphabet and YouTube to intervene, which circumvented

                                  21     Plaintiff’s earlier voluntary dismissal of the Corporate Defendants. Second, Plaintiff asserts that

                                  22     the Court erred in finding the work showed minimal creativity. Third, Plaintiff contends that in

                                  23     finding the work lacked human authorship, the Court improperly considered certain

                                  24     “inadmissible” allegations in the SAC. Fourth, Plaintiff contends that the Court ignored evidence

                                  25     that showed the Copyright Office was aware of errors in his registration application and still

                                  26     granted registration. Fifth, Plaintiff asserts that the Court failed to adjudicate the claim for

                                  27     misrepresentation under 512(f)(1) which he asserted against one of the individual defendants, Raul

                                  28     Mateas (“Mateas”). The Court finds Plaintiff’s arguments unavailing for the reasons below and
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                                   1     concludes that he has not shown that reconsideration is warranted under Civil Local Rule 7-9.

                                   2            Plaintiff first argues that the Court erred in permitting Alphabet and YouTube to intervene

                                   3     because it circumvented his earlier voluntary dismissal of Alphabet and Amazon. The Court

                                   4     already considered and rejected this argument in its order dismissing the action and thus it is

                                   5     improper under the Local Rule’s prohibition against repeating previous arguments. See N.D. Civ.

                                   6     L.R. 7-9(c).2

                                   7            Plaintiff’s second and third arguments for reconsideration challenge the Court’s

                                   8     conclusions regarding the creativity and human authorship of his livestream video. The Court

                                   9     considered and rejected Plaintiff’s arguments regarding these elements in its order dismissing the

                                  10     case. Thus, Plaintiff’s motion for reconsideration improperly attempts to reargue issues already

                                  11     presented to and decided by the Court. As the Court explained in the order dismissing the case,

                                  12     the SAC establishes that the livestream does not contain the minimal creativity required to be
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                                  13     copyrightable and lacks human authorship. These allegations are fatal to Plaintiff’s copyright

                                  14     claims related to the livestream. Plaintiff cannot now recast his allegations as “inadmissible

                                  15     hearsay” or use his motion for reconsideration as an attempt to amend his complaint. As the Court

                                  16     explained in its prior order, Plaintiff could not amend this complaint to cure these fatal defects

                                  17     without impermissibly contradicting his original allegations that the software turned on of its own

                                  18     accord and was “contentless and boring.” See Weilbeurg v. Shapiro, 488 F.3d 1202, 1205 (9th

                                  19     Cir. 2007) (dismissal of a pro se complaint with prejudice is proper where it is “absolute clear”

                                  20     that the deficiencies in the complaint could not be cured by amendment).

                                  21            Fourth, Plaintiff argues reconsideration is warranted because the Court failed to consider

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                                           Even if this were not the case, the additional cases Plaintiff now cites do not support
                                  24     reconsideration. See Fort Sill Apache Tribe of Oklahoma v. United States, No. CIV-08-0541-F,
                                         2008 WL 2891654 (W.D. Okla. July 23, 2008); Dukes v. Wal-Mart Stores, Inc., No. 01-CV-
                                  25     02252-CRB, 2016 WL 4269093 (N.D. Cal. Aug. 15, 2016). Those cases stand for the proposition
                                         that a court loses jurisdiction to entertain a motion to intervene once a case is dismissed pursuant
                                  26     to Rule 41(a)(1) because there is no longer a pending case or controversy. Here, in contrast,
                                         Plaintiff’s voluntary dismissal of Alphabet and Amazon did not terminate the action because the
                                  27     claims against the individual defendants remained. Thus, the Court retained jurisdiction over the
                                         ongoing case into which a non-party could intervene. Finally, even if the Court credited Plaintiff’s
                                  28     argument, it would not alter the outcome as to YouTube who was not named in this action prior to
                                         seeking to intervene.
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                                   1     evidence regarding his classification of the accidental livestream as a “dramatic work.” Plaintiff

                                   2     does not provide a citation to the evidence he claims the Court failed to consider. On review of

                                   3     Plaintiff’s filing, it appears that Plaintiff may be referring to his request for judicial notice of the

                                   4     assertion that the Copyright Office required him to upload a copy of his work. (See Dkt. No. 144-

                                   5     1 at ¶ 1.) However, Plaintiff’s assertion is not proper for judicial notice. To be entitled to judicial

                                   6     notice of a fact under Federal Rule of Evidence 201, Plaintiff must establish that the fact is not

                                   7     subject to reasonable dispute and is capable of immediate and accurate determination by resort to a

                                   8     source that cannot be reasonably questioned. Plaintiff’s conclusory request for judicial notice did

                                   9     not satisfy either factor, and he did not supply the Court with any source material to determine if

                                  10     his request was justified. To the extent this is the evidence Plaintiff claims the Court failed to

                                  11     consider, reconsideration is not warranted on this basis.

                                  12             Finally, Plaintiff asserts that reconsideration is warranted because the Court’s order did not
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                                  13     address his claim for misrepresentation against one of the individual defendants, Raul Mateas

                                  14     (“Mateas”) pursuant to 17 U.S.C. section 512(f) (“Section 512(f)”).

                                  15             Plaintiff is correct that the Court did not expressly address Plaintiff’s request for default

                                  16     judgment on this claim in its order dismissing the action. However, the Court has carefully

                                  17     reviewed Plaintiff’s motion for default judgment and for the reasons discussed below, Plaintiff is

                                  18     not entitled to default judgment against Mateas on this claim.

                                  19             A defendant’s default does not automatically entitle the plaintiff to a court-ordered

                                  20     judgment. See Draper v. Coombs, 792 F.2d 915, 924-25 (9th Cir.1986). Rather, granting or

                                  21     denying relief is entirely within the court’s discretion. See id. The Ninth Circuit has enumerated

                                  22     the following factors (collectively, the Eitel factors) that a court may consider in determining

                                  23     whether to grant default judgment: (1) the merits of the plaintiff’s substantive claim; (2) the

                                  24     sufficiency of the complaint; (3) the sum of money at stake in the action; (4) the possibility of

                                  25     prejudice to the plaintiff; (5) the possibility of a dispute concerning material facts; (6) whether the

                                  26     default was due to excusable neglect; and (7) the strong policy underlying the Federal Rules of

                                  27     Civil Procedure favoring decision on the merits. See Eitel v. McCool, 782 F.2d 1470, 1471-72

                                  28     (9th Cir.1986).
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                                   1            Upon entry of default, the well-pleaded allegations of the complaint relating to a

                                   2     defendant’s liability are taken as true, except for allegations as to the amount of damages. See

                                   3     TeleVideo Systems, Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th Cir.1987). Further, “necessary

                                   4     facts not contained in the pleadings, and claims which are legally insufficient, are not established

                                   5     by default.” Id. (citing Danning v. Lavine, 572 F.2d 1386, 1388 (9th Cir. 1978)).

                                   6            Here, after considering the Eitel factors, the Court finds in its discretion that granting

                                   7     default judgment against Mateas as to the misrepresentation claim is not warranted. In particular,

                                   8     the first and second Eitel factors, which analyze the substantive merits of Plaintiff’s claim and the

                                   9     sufficiency of the complaint, do not favor default judgment. Under Section 512(f)(1), “[a]ny

                                  10     person who knowingly materially misrepresents…that material or activity is infringing…shall be

                                  11     liable for any damages…incurred by the alleged infringer…who is injured by such

                                  12     misrepresentation, as the result of the service provider relying upon such misrepresentation in
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                                  13     removing or disabling access to the material.” 17 U.S.C. § 512(f). Thus, a plaintiff must allege

                                  14     that the defendant “knowingly and materially misrepresent[ed] that copyright infringement ...

                                  15     occurred.” Online Policy Group v. Diebold, 337 F. Supp. 1195, 1204 (N.D. Cal. 2004). However,

                                  16     “[a] copyright owner cannot be liable simply because an unknowing mistake is made, even if the

                                  17     copyright owner acted unreasonably in making the mistake.” Rossi v. MPAA, 391 F.3d 1000,

                                  18     1004 (9th Cir. 2004); see also Arista Records v. MP3Board, 00 Civ. 4660 (SHS), 2002 WL

                                  19     1997918, at *15 (S.D.N.Y. Aug. 29, 2002).

                                  20            Plaintiff alleges that on May 25, 2021, he posted a video to YouTube in which he

                                  21     displayed a screenshot that included Mateas’ Discord icon. (SAC ¶ 53.) Plaintiff alleges that

                                  22     Mateas issued a fraudulent takedown notice, and YouTube removed the video. (Id. ¶ 54.)

                                  23     Plaintiff alleges Mateas “does not own the copyright” to the allegedly infringing picture and

                                  24     “probably just pulled it off the Internet.” (Id.) Plaintiff further alleges “[n]o reasonable person

                                  25     could…reasonably determined [sic] that [his] use of the screenshot was not fair use.” (Id. ¶ 55.)

                                  26     Plaintiff issued a counter-notification, and YouTube reinstated the video by June 13, 2021. (Id. ¶

                                  27     56.) The video was removed for nineteen days. (Id.) Plaintiff alleges during this time “it was not

                                  28     getting views and thus not getting ad revenue.” (Id.)
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                                   1            Plaintiff’s allegations lack sufficient specificity to state a claim for misrepresentation.

                                   2     Plaintiff offers only conclusory assertions; he does not allege facts which identify how or why

                                   3     Mateas knew or should have known that the material was non-infringing. Plaintiff claims that he

                                   4     is entitled to default judgment on this claim because his allegations are deemed true. (See Dkt.

                                   5     No. 127-20, ¶ 26.) However, on default judgment, a defendant “is not held to facts that are not

                                   6     well-pleaded or to admit conclusions of law.” Wecosign, Inc. v. IFG Holdings, Inc., 845 F. Supp.

                                   7     2d 1072, 1078 (C.D. Cal. 2012). Plaintiff’s conclusory allegations not well-pleaded, and are thus

                                   8     insufficient to establish a claim for misrepresentation.

                                   9            Additionally, Plaintiff has not established he suffered damages because of the

                                  10     misrepresentation. Plaintiff alleges he lost views and ad revenue while the video was taken down.

                                  11     However, at default judgment, a plaintiff must offer evidence of the amount of damages suffered.

                                  12     TeleVideo Systems, Inc., 826 F.2d at 917-18 (“The general rule of law is that upon default the
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                                  13     factual allegations of the complaint, except those relating to the amount of damages, will be taken

                                  14     as true.”); see also PepsiCo, Inc. v. California Sec. Cans, 238 F. Supp. 2d 1172, 1174-75 (C.D.

                                  15     Cal. 2002) (“[T]he plaintiff is required to provide proof of all damages sought in the complaint.”).

                                  16     In his motion for default judgment, Plaintiff does not address the damages element of his

                                  17     misrepresentation claim and his conclusory allegations are insufficient to establish that the alleged

                                  18     misrepresentation caused him damage. See Lenz v. Universal Music Corp., No. C 07-3783 JF,

                                  19     2010 WL 702466, at *10 (N.D. Cal. Feb. 25, 2010) (Section 512(f) damages “must be proximately

                                  20     caused by the misrepresentation”). For these reasons, the first and second Eitel factors do not

                                  21     weigh in favor of default judgment.

                                  22            The third Eitel factor requires the Court to consider the amount of money at stake in

                                  23     relation to the seriousness of Defendant’s conduct. See Eitel, 782 F.2d at 1471. “Default

                                  24     judgment is disfavored when a large amount of money is involved or is unreasonable in light of

                                  25     the defendant’s actions.” Valentin v. Grant Mercantile Agency, Inc., No. 1:17-cv-01019-AWI-

                                  26     SKO, 2017 WL 6604410, at *7 (E.D. Cal. Dec. 27, 2017) (internal citation omitted). In his

                                  27     motion for default judgment, Plaintiff seeks damages in the amount of $1,800,000 from the

                                  28     Individual Defendants. This is a substantial amount of money. Moreover, it is unreasonable given
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                                   1     that the video at issue in the misrepresentation claim was reinstated after being down for a

                                   2     relatively short time. The Court finds this factor weighs against granting default judgment.

                                   3             The fourth factor, which considers the possibility of prejudice to Plaintiff, also does not

                                   4     weigh in favor of default judgment. Despite Mateas’ failure to appear and defend himself in this

                                   5     action, Plaintiff has not shown that he will be prejudiced if default judgment on the

                                   6     misrepresentation claim is not granted. The video underlying this claim has been restored and as

                                   7     discussed above, Plaintiff has shown that he suffered damages from the alleged misrepresentation.

                                   8     Finally, the strong policy favoring decisions on the merits also weighs against default judgment.

                                   9     On balance, the Court concludes that the Eitel factors do not favor default judgment against

                                  10     Mateas on Plaintiff’s Section 512(f) claim.

                                  11             Accordingly, Plaintiff has failed to show that reconsideration is warranted, and the Court

                                  12     DENIES his motion.
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                                  13     B.      Plaintiff is Not Entitled to Relief Under Rule 60(b)(6).
                                  14             Plaintiff has also filed a motion for relief from judgment pursuant to Federal Rule of Civil

                                  15     Procedure 60(b)(6), which provides that a court may provide relief from judgment for “any other

                                  16     reason that justifies relief.” Rule 60(b)(6) is to be used “sparingly as an equitable remedy to

                                  17     prevent manifest injustice.” Lal v. California, 610 F.3d 518, 524 (9th Cir. 2010) (quoting United

                                  18     States v. Alpine Land & Reservoir Co., 984 F.2d 1047, 1049 (9th Cir. 1993). “To receive relief

                                  19     under Rule 60(b)(6), a party must demonstrate extraordinary circumstances which prevented or

                                  20     rendered [her] unable to prosecute” her case. Id. (citation and internal quotation marks omitted).

                                  21     A party seeking relief under this Rule “must demonstrate both injury and circumstances beyond

                                  22     [her] control that prevented [her] from proceeding with the prosecution or defense of the action in

                                  23     a proper fashion.” Cmty. Dental Servs. v. Tani, 282 F.3d 1164, 1168 (9th Cir. 2002).

                                  24             Plaintiff argues that judgment should be set aside under Rule 60(b)(6) for the same reasons

                                  25     identified in his motion for reconsideration. However, Rule 60(b)(6) is not intended to redress

                                  26     error on the part of the district court, or to provide a party a substitute for an appeal. Evans v.

                                  27     Woodford, No. 1:06-cv-01250-ALA(P), 2008 WL 5114653, at *1 (E.D. Cal. Dec. 4, 2008)

                                  28     (quoting Twentieth Century-Fox Film Corp. v. Dunnahoo, 637 F.2d 1338, 1341 (9th Cir. 1981)).
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                                   1     Because Rule 60(b)(6) is not a basis for relief here, the Court DENIES Plaintiff’s motion.

                                   2     C.      Plaintiff’s Request for Recusal is Denied.
                                   3             Plaintiff asserts that the Court should recuse itself if it decides to re-open the case on the

                                   4     basis that the Court holds a personal grudge against Plaintiff based on his behavior and dismissed

                                   5     the case to punish him for his “abusive behavior.” Because Plaintiff has not shown that

                                   6     reconsideration or relief from judgment is warranted, the request for recusal is moot. In any event,

                                   7     28 U.S.C. section 455(a) “require[s] recusal only if the bias or prejudice stem from an extrajudicial

                                   8     source and not from conduct or rulings made during the course of the proceeding.” Toth v. Trans

                                   9     World Airlines, Inc., 862 F.2d 1381, 1388 (9th Cir. 1988). Judges are presumed to be impartial

                                  10     and, accordingly, parties seeking recusal bear “the substantial burden of proving otherwise.”

                                  11     United States v. Dehghani, 550 F.3d 716, 721 (8th Cir.2008) (internal quotation marks and citation

                                  12     omitted). Here, Plaintiff seeks recusal based on this Court’s rulings, but an adverse judicial ruling
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                                  13     is not an adequate basis for recusal. Litkey v. United States, 510 U.S. 540, 549 (1994); Leslie v.

                                  14     Grupo ICA, 198 F.3d 1152, 1160 (9th Cir. 1999). Plaintiff’s request for recusal is DENIED.

                                  15                                                CONCLUSION

                                  16             For the foregoing reasons, the Court DENIES Plaintiffs’ motion for reconsideration,

                                  17     motion for relief from judgment, and motion for recusal.

                                  18             IT IS SO ORDERED.

                                  19     Dated: March 2, 2023

                                  20                                                       ______________________________________
                                                                                           JEFFREY S. WHITE
                                  21                                                       United States District Judge
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13                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14
                                       OAKLAND DIVISION
15
     DAVID A. STEBBINS,                           )   CASE NO.: 4:21-cv-04184-JSW
16                                                )
                    Plaintiff,                    )   OPPOSITION TO MOTION FOR
17                                                )   PROTECTIVE ORDER AND FOR
            v.                                    )   SANCTIONS [DKT. 179]
18
                                                  )
19   KARL POLANO et al.,                          )   Judge: Hon. Jeffrey S. White
                                                  )
20                  Defendants.                   )   Action Filed: June 2, 2021
                                                  )
21                                                )
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     OPPOSITION TO MOTION FOR PROTECTIVE ORDER                      CASE NO.: 4:21-CV-04184-JSW
     AND FOR SANCTIONS
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 1          When Plaintiff claimed to need an extension of time to respond to Intervenors’

 2   Administrative Motion to Consider Whether Cases Should be Related, the Court granted his

 3   request, but instructed him to “carefully review Civil Local Rule 3-12(e) to ensure his response

 4   comports with the requirements of the rule and addresses only the issues required by the rule.” Dkt.
 5   177; see also Dkt. 175. The Local Rules also state that any opposition to an Administrative Motion

 6   “may not exceed 5 pages[.]” Civ. L.R. 7-11(b). Plaintiff disregarded the Court’s instructions and

 7   the Local Rule by filing (in addition to an opposition) a 17-page “Motion for Protective Order and

 8   For Sanctions.” Dkt. 179. Though styled as a separate “motion,” the filing directly addresses the
 9   Administrative Motion and is a transparent end-run around the Local Rule. It also reveals the true
10   reason why Plaintiff needed more time to respond to the 5-page Administrative Motion.

11          This is another example of “Plaintiff’s efforts to manipulate the litigation process and his

12   blatant gamesmanship,” which this Court has noted in the past. Dkt. 134. Plaintiff has been

13   declared a vexatious litigant elsewhere. Stebbins v. Stebbins, 2013 WL 3353865, at *1 (W.D. Ark.
14   July 3, 2013). The dockets in his other cases are littered with meritless motions like this one. See,

15   e.g., id. (“Not only has [Plaintiff] filed numerous cases, but he has also filed over one hundred
16   motions within those cases, some of which have been repetitive, and few of which have had any

17   merit.”); Stebbins v. Microsoft, Inc., 2012 WL 12896360, at *1 (W.D. Wash. Jan. 13, 2012) (noting

18   that “time spent dealing with Mr. Stebbins’ filings prevents the Court from addressing the genuine,
19   vexing problems that people trust the Court to resolve quickly and fairly”), aff’d, 520 F. App’x 589
20   (9th Cir. 2013). Unfortunately, we have no doubt that more is to come.

21          As for the substance of Plaintiff’s “motion,” it is simply a screed against Intervenors’

22   counsel for making arguments with which Plaintiff disagrees. He identifies no legal or factual basis

23   for any relief, and in any event, he failed to comply with the procedures set forth in Federal Rule

24   11(c)(2). The motion is frivolous and should be denied.

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     OPPOSITION TO MOTION FOR PROTECTIVE ORDER       -1-                      CASE NO.: 4:21-CV-04184-JSW
     AND FOR SANCTIONS
                                                                                                    (13 of 191)
 Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 13 of 191
                                         SER23
       Case 4:21-cv-04184-JSW Document 181 Filed 02/21/23 Page 3 of 3



 1   Dated: February 21, 2023                    Respectfully submitted,

 2                                               WILSON SONSINI GOODRICH & ROSATI
                                                 Professional Corporation
 3

 4                                               By:     s/ Jason Mollick

 5                                               Jason Mollick (pro hac vice)
                                                 1301 Avenue of the Americas, 40th Floor
 6                                               New York, New York 10019
 7                                               Telephone: (212) 999-5800
                                                 Facsimile: (212) 999-5899
 8                                               jmollick@wsgr.com

 9                                               Counsel for Intervenors
                                                 Alphabet Inc. and YouTube, LLC
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     OPPOSITION TO MOTION FOR PROTECTIVE ORDER     -2-                      CASE NO.: 4:21-CV-04184-JSW
     AND FOR SANCTIONS
                                                                                                          (14 of 191)
   Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 14 of 191
                                              SER24
          Case 4:21-cv-04184-JSW Document 180 Filed 02/09/23 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                      RELATED CASE ORDER


        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge assigned
to case

         21-cv-04184-JSW
         Stebbins v. Polano

        I find that the more recently filed case(s) that I have initialed below are related to the case
assigned to me, and such case(s) shall be reassigned to me. Any cases listed below that are not
related to the case assigned to me are referred to the judge assigned to the next-earliest filed case
for a related case determination.


Case                          Title                                  Related       Not Related
23-cv-00322-LJC               Stebbins v. Google LLC                                   JSW

                                               ORDER
         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.


Dated:                                             By:
                                                   Jeffrey S. White
                                                   United States District Judge




                                                   1
                                                                                           (15 of 191)
   Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 15 of 191
                                      SER25
         Case 4:21-cv-04184-JSW Document 180 Filed 02/09/23 Page 2 of 2



                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                  CLERK’S NOTICE


       The court has reviewed the motion and determined that no cases are related and no
reassignments shall occur.


Dated: February 9, 2023                    By:
                                           Ki'i Kealalio-Puli, Deputy Clerk




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  Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 16 of 191
                                            SER26
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                                                                   SER43
Yahoo Mail - RE: Appointment Confirmation                                        https://mail.yahoo.com/d/folders/58/messages/AE1ZzxUlTFWaY9K...
                          Case 4:21-cv-04184-JSW Document 179-1 Filed 02/06/23 Page 1 of 1


            RE: Appointment Confirmation

            From: Mollick, Jason (jmollick@wsgr.com)

            To:    acerthorn@yahoo.com

            Date: Thursday, January 26, 2023 at 07:46 AM CST



            Mr. Stebbins,

            We do not consent. You have more than enough experience with the judicial process to respond to an
            administrative motion. I have also urged you, many times, to consult with a lawyer before filing frivolous
            copyright lawsuits. We will litigate the case and seek an award of all fees incurred doing so.

            On a related note, it appears that the user who operated the “Acerthorn the True Acerthorn” channel took
            down the channel sometime yesterday. In light of this, please advise if you wish to continue litigating or if
            you will withdraw the case.

            Jason Mollick




            From: Acerthorn <acerthorn@yahoo.com>
            Sent: Wednesday, January 25, 2023 7:25 PM
            To: Mollick, Jason <jmollick@wsgr.com>
            Subject: Fw: Appointment Confirmation


                                                           EXT - acerthorn@yahoo.com




             Dear Mr. Mollick,



             This is the earliest the pro bono office was able to work me in so I could discuss the administrative motion with them.
             Would you consent to an extension of time for me to file my response, until Tuesday, February 7th, so I can have a
             chance to confer with legal counsel about this matter and discuss my options?



             If so, can you please prepare a joint motion for extension of time and have this filed with the court by tomorrow?



             Sincerely,

             David Stebbins




1 of 3                                                                                                                                 1/29/2023, 8:54 PM
                                                                                                                                 (34 of 191)
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     Facsimile: (866) 974-7329
 5   rbenyamin@wsgr.com
 6   JASON MOLLICK (pro hac vice)
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 9   Telephone: (212) 999-5800
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10   jmollick@wsgr.com
11
     Counsel for Intervenors
12   Alphabet Inc. and YouTube, LLC

13                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                      OAKLAND DIVISION
15
16   DAVID A. STEBBINS,                          )   CASE NO.: 4:21-cv-04184-JSW
                                                 )
17                 Plaintiff,                    )   ADMINISTRATIVE MOTION TO
                                                 )   CONSIDER WHETHER CASES
18
            v.                                   )   SHOULD BE RELATED
19                                               )
     KARL POLANO et al.,                         )   Judge: Hon. Jeffrey S. White
20                                               )
                   Defendants.                   )   Action Filed: June 2, 2021
21                                               )
                                                 )
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     ADMINISTRATIVE MOTION TO CONSIDER                             CASE NO.: 4:21-CV-04184-JSW
     WHETHER CASES SHOULD BE RELATED
                                                                                                          (36 of 191)
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 1                                    ADMINISTRATIVE MOTION

 2          Pursuant to Civil L.R. 3-12, Intervenors Alphabet Inc. (“Alphabet”) and YouTube, LLC
 3   (“YouTube”) request that the Court relate the present action and the already-related case, Stebbins
 4   v. Rebolo et al., No. 4:22-cv-00546-JSW, to a new copyright infringement action filed in this
 5   District by Plaintiff David A. Stebbins against Intervenors’ affiliate, Google LLC (“Google”),
 6   David A. Stebbins v. Google LLC, No. 3:23-cv-00322-LJC (filed Jan. 20, 2023). Alphabet,
 7   YouTube, and Google are represented by the undersigned counsel in all three cases.
 8                IDENTIFICATION OF RELATED CASES (CIVIL L.R. 3-12(d)(1))
 9   1) Lowest-Numbered Case: Stebbins v. Polano, No. 4:21-cv-04184-JSW (filed June 2, 2021);
10   2) Already-Related Case: Stebbins v. Rebolo, No. 4:22-cv-00546-JSW (filed Jan. 27, 2022); and
11   3) New Case: Stebbins v. Google LLC, No. 3:23-cv-00322-LJC (filed Jan. 20, 2023).
12                   RELATIONSHIP OF THE ACTIONS (CIVIL L.R. 3-12(d)(2))
13          Plaintiff is a self-proclaimed “YouTuber” who goes by the online alias, “Acerthorn.” This
14   Court is all-too familiar with his years’ long abuse of the court system. That abuse is continuing
15   with yet another baseless and wasteful copyright action in this District that is designed to stifle fair
16   use criticism of his litigation tactics—his third such case against Intervenors and their affiliates in
17   the last two years alone. Intervenors respectfully request that the Court take appropriate action by
18   relating the new case to the two existing cases, at which point the Court can consider screening the
19   new case under the in forma pauperis statute, dismissing it, and (as it has warned multiple times)
20   declaring Plaintiff a vexatious litigant in the Northern District of California.
21          A.      The Polano and Rebolo Actions
22          As Intervenors detailed in prior filings (see, e.g., Motion to Intervene, Dkt. 138 at 3-4),
23   Plaintiff’s home district, the Western District of Arkansas, has already declared him a “vexatious”
24   litigant who has “abused the system” with “a history of filing ultimately meritless cases upon
25   which the Court has been forced to expend countless hours of time and judicial resources.”
26   Stebbins v. Stebbins, 2013 U.S. Dist. LEXIS 93528, at *3-4 (W.D. Ark. July 3, 2013). Here in this
27   District, for example, he once sued Google to confirm a purported “arbitration award” for half a
28   trillion dollars, even though no arbitration actually occurred. Stebbins v. Google, Inc., 2011 U.S.

     ADMINISTRATIVE MOTION TO CONSIDER                 -1-                       CASE NO.: 4:21-CV-04184-JSW
     WHETHER CASES SHOULD BE RELATED
                                                                                                      (37 of 191)
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 1   Dist. LEXIS 125701, at *11-12 (N.D. Cal. Oct. 27, 2011) (dismissing sua sponte as “frivolous”

 2   and “clearly baseless”). Plaintiff has also filed at least three mandamus petitions in the Ninth

 3   Circuit alone, two of which are aimed at this Court in connection with this case. See 9th Cir. Case

 4   Nos. 11-72595 (denied), 22-70132 (denied), 22-70269 (pending).
 5          Plaintiff’s litigious behavior has engendered a chorus of social media users who are critical

 6   of him. In response, Plaintiff has filed a barrage of bogus “copyright” actions, Digital Millennium

 7   Copyright Act (DMCA) takedown notices, and related claims for virtually every instance where

 8   anyone uses pieces of his content to criticize him—including de minimis snippets of his YouTube
 9   videos, displays of his YouTube channel logo, the sounds of his voice, and screenshots of his face.
10   For example, in the already-related Rebolo case, Plaintiff sued an online user for creating a

11   YouTube channel designed to criticize him which used a picture of his face as its channel icon.

12   Rebolo Dkt. 15 ¶ 128. He also sought leave to add infringement claims against another channel

13   critical of him, called “Acerthorn The True Acerthorn.” Id. Dkt. 16-1 ¶¶ 154-59. For these
14   “infringements” Plaintiff sought approximately $3.5 million in damages, plus (as in the Polano

15   case) injunctive relief requiring YouTube to permanently ban all user-defendants. Id. Dkt. 15 at
16   33. Plaintiff not only sued the individuals who criticized him, but also the online services that

17   hosted those criticisms, including YouTube, Alphabet (Google’s parent company), and now

18   Google (which provides the YouTube service).
19          This Court dismissed the present case, Polano, and warned Plaintiff that continuing to file
20   frivolous copyright claims aimed at stifling online criticism would result in him being declared a

21   vexatious litigant and subjected to a pre-screening order:

22                  Plaintiff clearly feels aggrieved by comments made about him
                    online by the Individual Defendants and others, but that does not
23                  mean Plaintiff has a viable copyright claim. He does not, and his
                    pursuit of his claim has caused the Court to expend significant
24
                    resources addressing his meritless claims. Plaintiff is warned that if
25                  he persists in filing frivolous or meritless lawsuits, the Court may
                    impose sanctions, bar from him from filing further actions without
26                  prior approval, and/or deem him a vexatious litigant.
27   Polano Dkt. 158 at 8. The Court issued the same warning in the Rebolo case, noting specifically
28   that Plaintiff was improperly targeting fair use criticism:

     ADMINISTRATIVE MOTION TO CONSIDER                -2-                     CASE NO.: 4:21-CV-04184-JSW
     WHETHER CASES SHOULD BE RELATED
                                                                                                      (38 of 191)
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                                          SER48
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 1                  [M]uch of the alleged infringement is plainly fair use criticism as
                    Plaintiff himself concedes in the complaint…. Plaintiff’s attempt to
 2                  manufacture and pursue ultimately meritless copyright infringement
                    claims in an effort to silence online criticism smacks of bad faith
 3
                    and abuse of the Court system. Plaintiff’s bad faith and his history
 4                  of filing frivolous lawsuits further justifies dismissal without leave
                    to amend…. Plaintiff is warned that if he persists in filing frivolous
 5                  or meritless lawsuits, the Court may impose sanctions, bar him from
                    filing further actions without prior approval, and/or deem him a
 6                  vexatious litigant.
 7   Rebolo Dkt. 20 at 4-5. Both actions, however, remain pending.
 8          B.      The New Action
 9
            On January 20, 2023, Plaintiff filed a new copyright action against Google that follows the
10
     same pattern, and features many of the same parties and facts, as the Polano and Rebolo cases.
11   Stebbins v. Google LLC, No. 3:23-cv-00322-LJC. The case is currently assigned to Magistrate
12   Judge Lisa J. Cisneros. The Complaint (Dkt. 5) alleges that the channel “Acerthorn The True
13   Acerthorn”—one of the same channels that Plaintiff complained about in the Rebolo case—is
14
     using a channel icon that displays a screenshot of his face superimposed with the phrase
15   “ACERTHORN LAW.” Id. ¶¶ 5-13.1 Because the icon allegedly derives from a nearly four-hour
16
     video that Plaintiff created and copyrighted, he asserts a claim of copyright infringement against
17
     Google for hosting the icon on YouTube. Id. ¶¶ 15-20. As in the prior cases, he requests $150,000
18
     in statutory damages and an injunction ordering Google to remove the content and ban the channel
19
     operator from YouTube. Id. ¶¶ 52-56. Plaintiff has also been granted leave to proceed in forma
20
     pauperis. Google Dkt. 6.
21
            Tellingly, Plaintiff spends the vast majority of his new Complaint defensively arguing that
22
     the channel icon is not fair use under the Copyright Act. Google Dkt. 5 ¶¶ 35-51. But clearly, it
23
     is: (1) the entire purpose and character of the challenged use is to criticize Plaintiff; (2) the
24
     underlying copyrighted video is of minimal creativity; (3) the channel uses an infinitesimal
25
     screenshot from a four-hour video; and (4) the channel’s use of that screenshot has no impact
26
        1
27          The “Acerthorn The True Acerthorn” channel and associated icon can be found at
     https://www.youtube.com/@acerthornthetrueacerthorn4532/featured.     Plaintiff’s allegedly-
28   infringed video can be found at https://www.youtube.com/watch?v=iDKSx4oi-r0.

     ADMINISTRATIVE MOTION TO CONSIDER               -3-                      CASE NO.: 4:21-CV-04184-JSW
     WHETHER CASES SHOULD BE RELATED
                                                                                                         (39 of 191)
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 1   whatsoever on the market for Plaintiff’s video, if there even is such a market at all. See 17 U.S.C.

 2   § 107 (listing the fair use factors). If the case is not dismissed sua sponte (as it should be), Google

 3   intends to file a motion to dismiss on fair use grounds, followed by a motion to recover all attorney

 4   fees expended in defending yet another frivolous copyright case. See 17 U.S.C. § 505.
 5           The new case should be deemed related to Polano and Rebolo. Under Civil L.R. 3-12(a),

 6   an action is related to another when (1) “The actions concern substantially the same parties,

 7   property, transaction, or event”; and (2) “It appears likely that there will be an unduly burdensome

 8   duplication of labor and expense or conflicting results if the cases are conducted before different
 9   Judges.” Both requirements are easily met here. First, the new case involves the same Plaintiff
10   bringing the same type of claim against Google, which operates the YouTube service that was sued
11   (along with Google’s parent, Alphabet) in the related Polano and Rebolo cases. The alleged
12   infringing channel, “Acerthorn The True Acerthorn,” is one of the same channels at issue in the
13   Rebolo case. Rebolo Dkt. 16-1 ¶¶ 154-59. Rebolo also alleged the same type of infringing conduct
14   that is at issue in the new case: that another channel designed to criticize him infringed his
15   copyright by using a screenshot of his face as an icon. Id. Dkt. 15 ¶ 128. More fundamentally,
16   the new case follows the same abusive pattern as Polano and Rebolo: Plaintiff’s use of copyright
17   law to silence fair use criticism of him.
18           Second, because the facts and circumstances are essentially the same across all cases, there
19   would be an undue waste of judicial resources and a risk of conflicting results if the cases proceed
20   before different Judges. Unfortunately, this Court is already well-versed in Plaintiff’s litigation
21   history and abuse. And, this Court has repeatedly warned Plaintiff that he will be subject to a
22   vexatious litigant order if he continues to file frivolous copyright claims—warnings that he is
23   clearly ignoring. Accordingly, this Court is uniquely positioned to address the ongoing waste of
24   judicial resources that Plaintiff is causing.2
25
         2
26         Intervenors have also learned that Plaintiff recently filed another lawsuit in this District,
     Stebbins v. Doe d.b.a. SidAlpha, No. 4:23-cv-00321-DMR (filed Jan. 20, 2023), which the Court
27   should consider relating as well. In this latest action Plaintiff is suing a YouTube user with the
     alias “SidAlpha” for defamation based on a video that SidAlpha posted about Plaintiff’s litigation
28   history, which can be found at https://www.youtube.com/watch?v=WB-Xd1qDKIY. Although
                                                                                             (continued...)
     ADMINISTRATIVE MOTION TO CONSIDER               -4-                       CASE NO.: 4:21-CV-04184-JSW
     WHETHER CASES SHOULD BE RELATED
                                                                                                       (40 of 191)
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 1                                             CONCLUSION

 2          For the foregoing reasons, Intervenors respectfully request that the Court consider whether
 3   Stebbins v. Google should be related to the Polano and Rebolo actions. Should the Court see fit
 4   to relate the cases, Intervenors respectfully urge the Court to consider screening the new complaint
 5   under 28 U.S.C. § 1915(e)(2)(B), dismissing it, declaring Plaintiff a vexatious litigant, and
 6   subjecting him to a pre-filing screening order in this District.
 7

 8   Dated: January 25, 2023                        Respectfully submitted,
 9                                                  WILSON SONSINI GOODRICH & ROSATI
                                                    Professional Corporation
10
                                                    By:     s/ Jason Mollick
11

12                                                  Jason Mollick (pro hac vice)
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13                                                  New York, New York 10019
                                                    Telephone: (212) 999-5800
14                                                  Facsimile: (212) 999-5899
15                                                  jmollick@wsgr.com

16                                                  Counsel for Intervenors
                                                    Alphabet Inc. and YouTube, LLC
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25   Intervenors are not a party to this case, and it does not feature a copyright claim, SidAlpha was
     one of the individual defendants in the Rebolo case, and the video about which Plaintiff complains
26
     is the same video that he alleged was “copyright infringement” in the Rebolo action. Rebolo Dkt.
27   15 ¶¶ 109-21. Plaintiff also attempted to use this same video as a measuring stick for claiming
     copyright damages in the Polano case. Polano Dkt. 127-20 ¶ 5. Thus the facts, circumstances,
28   and parties overlap substantially between all cases.

     ADMINISTRATIVE MOTION TO CONSIDER                -5-                      CASE NO.: 4:21-CV-04184-JSW
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 1                                   CERTIFICATE OF SERVICE

 2          Pursuant to Civil L.R. 3-12(b), I certify that a copy of this motion will be served on all
 3   known parties who have appeared in each apparently-related case via CM/ECF. I further certify
 4   that a courtesy copy of this motion will be lodged with the assigned Judge in each apparently-
 5   related case under Civil L.R. 5-1(d)(7).
 6

 7   Dated: January 25, 2023                     Respectfully submitted,
 8                                               WILSON SONSINI GOODRICH & ROSATI
                                                 Professional Corporation
 9
                                                 By:     s/ Jason Mollick
10

11                                               Jason Mollick (pro hac vice)
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15                                               Counsel for Intervenors
                                                 Alphabet Inc. and YouTube, LLC
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     ADMINISTRATIVE MOTION TO CONSIDER             -6-                      CASE NO.: 4:21-CV-04184-JSW
     WHETHER CASES SHOULD BE RELATED
                                                                                           (42 of 191)
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11
     Counsel for Intervenors
12   Alphabet Inc. and YouTube, LLC

13                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                      OAKLAND DIVISION
15
16   DAVID A. STEBBINS,                          )   CASE NO.: 4:21-cv-04184-JSW
                                                 )
17                 Plaintiff,                    )   DECLARATION OF JASON
                                                 )   MOLLICK, ESQ. IN SUPPORT OF
18
            v.                                   )   ADMINISTRATIVE MOTION TO
19                                               )   CONSIDER WHETHER CASES
     KARL POLANO et al.,                         )   SHOULD BE RELATED
20                                               )
                   Defendants.                   )   Judge: Hon. Jeffrey S. White
21                                               )
                                                 )   Action Filed: June 2, 2021
22
                                                 )
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     MOLLICK DECLARATION ISO ADMINISTRATIVE                        CASE NO.: 4:21-CV-04184-JSW
     MOTION TO CONSIDER WHETHER CASES SHOULD
     BE RELATED
                                                                                                       (43 of 191)
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      Case 4:21-cv-04184-JSW Document 174-1 Filed 01/25/23 Page 2 of 2



 1          I, Jason Mollick, declare as follows:

 2          1.      I am an attorney at the law firm of Wilson Sonsini Goodrich & Rosati, P.C., counsel

 3   for Intervenors Alphabet Inc. (“Alphabet”) and YouTube, LLC (“YouTube”) in the above-

 4   captioned action, and for Defendant Google LLC (“Google”) in a newly-filed action, David A.
 5   Stebbins v. Google LLC, No. 3:23-cv-00322-LJC (filed Jan. 20, 2023). I am admitted pro hac vice

 6   in this case, and intend to file an application to appear in the Google action as well.

 7          2.      I respectfully submit this Declaration pursuant to Local C.R. 7-11(a) in support of

 8   the accompanying Administrative Motion to Consider Whether Cases Should be Related.
 9          3.      On January 24, 2023, I emailed Plaintiff David Stebbins, pro se Plaintiff in the
10   above-captioned action and the newly-filed action against Google. I asked Plaintiff whether he

11   would oppose a motion requesting that the cases be deemed related pursuant to Local C.R. 3-12,

12   along with another already-related action brought by Plaintiff that is pending before this Court,

13   Stebbins v. Rebolo, No. 4:22-cv-00546-JSW (filed Jan. 27, 2022).
14          4.      Plaintiff responded that he disagrees that the cases are related.

15          I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true
16   and correct. Executed on January 25, 2023 in Eastchester, New York.

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18                                                          By:    s/ Jason Mollick
                                                                   Jason Mollick
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     MOLLICK DECLARATION ISO ADMINISTRATIVE           -2-                      CASE NO.: 4:21-CV-04184-JSW
     MOTION TO CONSIDER WHETHER CASES SHOULD
     BE RELATED
                                                                                                     (44 of 191)
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                                          SER54
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 1                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 2                                       OAKLAND DIVISION
 3

 4   DAVID A. STEBBINS,                                  )    CASE NO.: 4:21-cv-04184-JSW
                                                         )
 5                    Plaintiff,                         )    [PROPOSED] ORDER GRANTING
                                                         )    ADMINISTRATIVE MOTION TO
 6          v.                                           )    CONSIDER WHETHER CASES
 7                                                       )    SHOULD BE RELATED
     KARL POLANO et al.,                                 )
 8                                                       )    Judge: Hon. Jeffrey S. White
                      Defendants.                        )
 9                                                       )    Action Filed: June 2, 2021
                                                         )
10

11          Upon consideration of Intervenors Alphabet Inc. and YouTube, LLC’s (“Intervenors”)
12   Administrative Motion to Consider Whether Cases Should be Related pursuant to Civil L.R. 3-12,
13   together with the record in the related actions and upon good cause showing, it is hereby
14   ORDERED that the newly-filed action, Stebbins v. Google LLC, No. 3:23-cv-00322-LJC (filed
15   Jan. 20, 2023), currently pending before Magistrate Judge Lisa J. Cisneros, shall be deemed related
16   to Stebbins v. Polano, No. 4:21-cv-04184-JSW (filed June 2, 2021) and Stebbins v. Rebolo, No.
17   4:22-cv-00546-JSW (filed Jan. 27, 2022), both of which are pending before this Court. In
18   accordance with Civil L.R. 3-12(f)(3), the Clerk is respectfully instructed to reassign Case No.
19   3:23-cv-00322 to the undersigned and notify all parties and Judge Cisneros accordingly.
20          IT IS FURTHER ORDERED that Defendant’s time to respond to the Complaint in Case
21   No. 3:23-cv-00322 shall be stayed pending the Court’s initial screening of the Complaint under 28
22   U.S.C. § 1915.
23          IT IS SO ORDERED.
24

25   Dated: _____________________                                ______________________________
                                                                 HON. JEFFREY S. WHITE
26                                                               United States District Judge
27

28
     [PROPOSED] ORDER GRANTING ADMINISTRATIVE                                CASE NO.: 4:21-CV-04184-JSW
     MOTION TO CONSIDER WHETHER CASES SHOULD
     BE RELATED
                                                                                                      (45 of 191)
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Yahoo Mail - Re: Activity in Case 3:22-cv-00546-SK Stebbins v. Rebolo ...   https://mail.yahoo.com/d/folders/46/messages/AEhGvKN3954bYp4o4g...
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             Re: Activity in Case 3:22-cv-00546-SK Stebbins v. Rebolo et al

             From: Acerthorn (acerthorn@yahoo.com)
             To:    fedpro@sfbar.org

             Date: Monday, June 6, 2022 at 11:18 AM CDT



             Ms. Deborah,

             Please find, attached, a draft Objection to Reply Evidence that I plan to file. I want to ask for your input on that
             Objection during today's appointment.

             Sincerely,
             David Stebbins

              On Thursday, May 12, 2022 at 06:32:12 PM CDT, fedpro <fedpro@sfbar.org> wrote:



              Hello Mr. Stebbins: You are confirmed for Monday, June 6th at 11:15am PST. I will call you at that time
              and you may consent to the retainer agreement on the call.



              Take care,



              Deborah



              The Legal Help Center - Federal Pro Bono Project

              Justice & Diversity Center of The Bar Association of San Francisco

              Appointment Line: 415-782-8982
              Email: fedpro@sfbar.org
              S.F. Office - 450 Golden Gate Ave., 15th Fl., Room 2796
              Oakland Office - 1301 Clay St., 4th Fl., Room 470 S

              Thank you for contacting the Federal Pro Bono Project. This email address is used only for scheduling
              appointments. We do not offer any legal advice over email. Communicating with us through email does not
              create an attorney-client relationship. The Legal Help Centers in San Francisco and Oakland do not represent
              you. You are responsible for all parts of your case including any deadlines.




              From: Acer Thorn [mailto:acerthorn@yahoo.com]
              Sent: Thursday, May 12, 2022 3:46 PM



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Yahoo Mail - Re: Stebbins v. Polano et al.                          https://mail.yahoo.com/d/folders/folders=58&sortOrder=date_asc/messag...
                           Case 4:21-cv-04184-JSW Document 153-1 Filed 06/06/22 Page 1 of 6


             Re: Stebbins v. Polano et al.

             From: acerthorn (acerthorn@yahoo.com)
             To:     jmollick@wsgr.com

             Date: Tuesday, September 28, 2021 at 11:21 AM CDT



             Mr. Mollick,

             I've been thinking about the conversation we had yesterday, and a possibility just occurred to
             me.

             You mention that I may have to amend my complaint in order to substitute Youtube, LLC for
             Alphabet, Inc. You've graciously allowed me to wait until the individual defendants have
             appeared in the case before I have to do that, and I appreciate that.

             However, what if I seek leave to file that amended complaint, and the judge decides "Ok, you
             can file another amended complaint, but you'll have to serve the individual defendants all over
             again."

             Serving the two international defendants the first time has pretty much sucked my savings dry. I
             can't afford to do it again.

             Now, if Polano and Mateas each make appearances in the case, then this won't be that big of a
             deal, since they will automatically be served with copies of the amended complaint. However,
             yesterday, you advised me that it was a realistic possibility that the individual defendants may
             not even appear at all, and I may get a default judgment against them.

             If I get a default judgment against either Mateas and/or Polano, and then I seek leave to amend
             the complaint then, I may have to serve them all over again ... and I can't afford to do that a
             second time.

             Do you have an idea of what we should do if we ever reach that roadbump?

             If I may make a suggestion, is it really so damn important that I list Youtube and not Alphabet as
             a defendant? Maybe if you were being sued for damages, having Youtube as the defendant
             would heavily limit which assets I could legally go after in order to collect on the judgment. But
             since you're only a nominal defendant, don't you think it's in the interests of justice to just let this
             one slide, just this once?

             Of course, if both international defendants actually appear in the case, we're golden. All of this
             talk is pointless. But at the same time, I would really like to be prepared for the worst.

             So what are your thoughts?

             Sincerely,
             David Stebbins

               On Monday, September 27, 2021, 02:03:36 PM CDT, Mollick, Jason <jmollick@wsgr.com> wrote:




1 of 6                                                                                                                  6/6/2022, 10:16 AM
                                                                                                                                      (79 of 191)
                    Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 79 of 191
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Yahoo Mail - Re: Stebbins v. Polano et al.                                 https://mail.yahoo.com/d/folders/folders=58&sortOrder=date_asc/messag...
                            Case 4:21-cv-04184-JSW Document 153-1 Filed 06/06/22 Page 2 of 6




               David,



               Just tried your Google Voice number and left you a VM. Are you still able to talk this afternoon?

               Jason




               From: acerthorn <acerthorn@yahoo.com>
               Sent: Saturday, September 25, 2021 6:40 PM
               To: Mollick, Jason <jmollick@wsgr.com>
               Subject: Re: Stebbins v. Polano et al.



               [External]


               Can you call me earlier than 1pm? If not, I can certainly talk at 3pm, but I'd prefer to get this
               over with quickly.


               On Saturday, September 25, 2021, 04:30:58 PM CDT, Mollick, Jason <jmollick@wsgr.com> wrote:




               Thank you. Can you resend as attachments rather than a link? Our security software appears to be blocking the
               link.



               Also, I realize now that I have a conflict at 1pm. Are you available at 3 ET instead?

               Jason Mollick

               Wilson Sonsini Goodrich & Rosati

               212.497.7772 | jmollick@wsgr.com




                On Sep 25, 2021, at 4:44 PM, acerthorn <acerthorn@yahoo.com> wrote:




                [External]


                In the meantime, here's a copy of the Second Amended Complaint (which has been


2 of 6                                                                                                                         6/6/2022, 10:16 AM
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                    Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 80 of 191
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Yahoo Mail - Re: Stebbins v. Polano et al.                           https://mail.yahoo.com/d/folders/folders=58&sortOrder=date_asc/messag...
                           Case 4:21-cv-04184-JSW Document 153-1 Filed 06/06/22 Page 3 of 6

                updated since you were served with process to include an extra count of infringement), as
                well as the two motions that are currently pending in this case. If you want to be briefed on
                what's happened in the case thus far, these current motions would probably be a good
                place to start.


                On Saturday, September 25, 2021, 02:09:46 PM CDT, Mollick, Jason <jmollick@wsgr.com> wrote:




                Will do. Thank you.

                Jason Mollick

                Wilson Sonsini Goodrich & Rosati

                212.497.7772 | jmollick@wsgr.com




                  On Sep 25, 2021, at 3:08 PM, acerthorn <acerthorn@yahoo.com> wrote:




                  [External]


                  1pm Eastern should be noon in my time zone (I live in Arkansas). So yes, I think I will be
                  able to talk then.


                  Call me at (870) 298-1168 . That's my Google Voice phone number and is the one most
                  likely to reach me. The phone number which appears in the signature of my motions is
                  my Textnow phone number, and calls on that number only reach me when they feel like it.
                  I usually say this regarding my two phone numbers: "Textnow is for text messages;
                  Google Voice is for voice chat."


                  Sincerely,
                  David Stebbins


                  On Saturday, September 25, 2021, 02:04:09 PM CDT, Mollick, Jason <jmollick@wsgr.com> wrote:




3 of 6                                                                                                                   6/6/2022, 10:16 AM
                                                                                                                                 (81 of 191)
                    Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 81 of 191
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Yahoo Mail - Re: Stebbins v. Polano et al.                            https://mail.yahoo.com/d/folders/folders=58&sortOrder=date_asc/messag...
                           Case 4:21-cv-04184-JSW Document 153-1 Filed 06/06/22 Page 4 of 6

                  Thank you, David. I appreciate your message. I’d like to chat so I can get more information from you
                  about what’s happened in the case thus far, the alleged infringements at issue, your takedown notices,
                  and the individual defendants. I agree and hope that we don’t need to be adversarial. Once I have
                  some additional information then we can talk about the best way to potentially resolve the matter.



                  Are you able to talk at 1pm Eastern on Monday?



                  Jason




                  From: acerthorn <acerthorn@yahoo.com>


                  Sent: Saturday, September 25, 2021 2:14 PM
                  To: Mollick, Jason <jmollick@wsgr.com>
                  Subject: Re: Stebbins v. Polano et al.



                  [External]


                  Dear Mr. Mollick,


                  Yes, I should be available on Monday.


                  Before we talk, though, I have to ask: Can you at least give me a brief overview of what
                  this discussion will be about? I want you to understand that Alphabet, Inc. is not on the
                  hook for damages in this case. They are a nominal defendant who is only included in this
                  case so they can terminate the accounts of the individual defendants. I am not seeking to
                  create an adversarial relationship with Alphabet over this case.


                  So what are you hoping to discuss?


                  Sincerely,
                  David Stebbins




                  On Saturday, September 25, 2021, 12:36:15 PM CDT, Mollick, Jason <jmollick@wsgr.com> wrote:




4 of 6                                                                                                                    6/6/2022, 10:16 AM
                                                                                                                                       (82 of 191)
                    Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 82 of 191
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Yahoo Mail - Re: Stebbins v. Polano et al.                                  https://mail.yahoo.com/d/folders/folders=58&sortOrder=date_asc/messag...
                           Case 4:21-cv-04184-JSW Document 153-1 Filed 06/06/22 Page 5 of 6




                  Good Afternoon Mr. Stebbins:



                  I have been retained by Alphabet in connection with the lawsuit that you filed in the Northern District of
                  California. I would appreciate the opportunity to speak with you about the case. Are you available to
                  talk on Monday? If so, please let me know what times work for you.



                  Thank you and have a great rest of your weekend.



                  Jason Mollick




                  <image001.png>

                  Jason Mollick | Associate | Wilson Sonsini Goodrich & Rosati
                  1301 Avenue of the Americas, 40th Floor | New York, NY 10019 | 212.497.7772 | jmollick@wsgr.com


                  <image002.png> <image003.png> <image004.png> <image005.png> <image006.png>




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5 of 6                                                                                                                           6/6/2022, 10:16 AM
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                    Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 83 of 191
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                           Case 4:21-cv-04184-JSW Document 153-1 Filed 06/06/22 Page 6 of 6

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                <We found suspicious links>




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6 of 6                                                                                                                          6/6/2022, 10:16 AM
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    1-10499343793 Accidental Livestream from April 10, 2021                                                                                                             Acerthorn/Copyrig...


          Copyright Office <cop ad@ loc.gov>
          To: acerthorn@yahoo.com

   Dear David Stebbins:

   Please respond to the questions below within 45 days and include the [THREAD ID], using the brackets, as part of your response. The [THREAD ID] is located below the Examiner's
   signature block. The [THREAD ID] must be in the body of your response, NOT the subject line. If you put the [THREAD ID] in the subject line, we will not get your message.

   I am reviewing your copyright application for "Accidental Livestream from April 10, 2021 " and I have a question regarding your claim.

   You asserted a claim in "Dramatic Work" but the video you submitted does not appear to contain a dramatic work. Please let me know what you are trying to register and I will advise
   you further.

   IMPORTANT NOTE: The THREAD ID appearing at the end of this message MUST be included within the body of your response in order for your message to be properly routed. When
   replying to this message, make sure to copy the whole THREAD ID, including brackets, and paste it into the body of your response, preferably after the greeting. DO NOT include the
   THREAD ID in the subject line of your reply. If you put the THREAD ID in the subject line, we will not get your message.
                                                                                                                                                                                                   SER94




   Failure to comply exactly with our instructions will result in your email not being connected to your application, and your case will be closed without further correspondence from us.

   Best wishes,

   AJB
   Copyright Registration Specialist
   Office of Registration Policy and Practice
   United States Copyright Office



   When replying to this email, please include the following thread id (entire line) within the body of your response to expedite routing to the correct office.

   [THREAD ID:1-4W6K9XW]


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    Re: 1-10499343793 Accidental Livest ream from April 10, 2021                                                                           Acerthorn/Copyrig..


 ~        acerthorn <acerthorn @yahoo.com>
 {!I)     To: Copyright Office


   [THREAD ID: 1-4W6K9XW]

   This livestream shows me engaging in my daily activities, just like anyone else who films their daily lives for Internet publication. There is certainly a
   dramatic element to this work. You personally may not find the content very interesting, but that does not mean it is not subject to copyright
   protection. I listed this as a "dramatic" work because it is still a live performance, even if it is improvised.

   Starting at 40: 14, you can hear some strange noises at one point when I am off camera. These strange noises are, hands down, the most "dramatic"
   part of the video.
                                                                                                                                                                      SER95




   A "drama" is defined by Webster's Dictionary as "a composition ... intended to portray life or character ... usually involving ... emotions through
   action." See https://www.merriam-webster.com/dictionarY./drama

   This livestream is a composition that portrays my life. Therefore, it is a drama. A very dull drama, mind you, but a drama nonetheless.

   Some people are infringing on my copyright, so I must register this copyright in order to maintain suing them. A copy of the Complaint in that lawsuit
   is being attached for your reference. As of the time of this writing, I am moving forward with the lawsuit pursuant to the exception listed in 17 USC§
   411(c), but I still need to move forward with the registration in order to continue with the lawsuit

   So please update my copyright registration ASAP.

   Sincerely,
   David Stebbins
                                                                                                                                                                          Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 85 of 191
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    Re: 1-10499343793 Accidental Livestream from April 10, 2021                                                                           Acerthorn/Copyrig...


 ~        acerthorn <acerthorn@yahoo.com >
''!6}     To: Copyright Office


   Dear U.S. Copyright Office,

   [THREAD ID:1-4W6K9XW]

   As I said in my previous email to you, I believed this constitutes a dramatic work because it depicts me engaging in my daily life, just like many other
   Internet vloggers. However, since sending that email, I did a little research and I realized there is a possibility that the video might have been better
   classified as a "motion picture."
                                                                                                                                                                    SER96




   I just spoke with a lady on the phone. She told me that, if this misclassification is the only error I made in my application, that you will only change
   just that one thing in the application and the process the application from there. I will not have to do the application all over again from scratch. I
   breathed a sigh of relief when she told me this.

   However, I would greatly appreciate it if you processed my application quickly. The lady told me that I have lost my opportunity to pay extra for
   expedited processing , but if you could potentially bump me up in the queue by a few spots without risking losing your job in the process, I would very
   much appreciate it. As I said last time, I have a currently pending lawsu it, and the judge has ordered me to submit my Amended Complaint by no
   later than July 30, 2021 . So I would very much appreciate having my Certificate in hand by no later than that.

   Thank you for your assistance, and please update my application ASAP.

   Sincerely,
   David Stebbins
                                                                                                                                                                        Case: 23-15531, 09/27/2023, ID: 12799750, DktEntry: 21-3, Page 86 of 191
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13                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                     OAKLAND DIVISION
15
16   DAVID A. STEBBINS,                           )   CASE NO.: 4:21-cv-04184-JSW
                                                  )
17                  Plaintiff,                    )   REPLY IN FURTHER SUPPORT OF
                                                  )   MOTION TO INTERVENE
18
            v.                                    )
19                                                )   Judge: Hon. Jeffrey S. White
     KARL POLANO et al.,                          )
20                                                )   Action Filed: June 2, 2021
                    Defendants.                   )
21                                                )
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 1                                           INTRODUCTION

 2          Alphabet and YouTube’s Motion to Intervene (Dkt. 138, “MTI”) raises two issues. First,
 3   should they be permitted to intervene for purposes of opposing Plaintiff’s motion for default
 4   judgment? Second, should Plaintiff’s motion for default judgment be denied, and his copyright
 5   case dismissed, because the sole work at issue is not copyrightable? Plaintiff’s opposition brief
 6   (Dkt. 144, “Opp.”) confirms that the answer to both questions is “yes.”
 7          Alphabet and YouTube should be permitted to intervene in this action under Federal Rule
 8   of Civil Procedure 24(b) so Plaintiff does not secure a judgment by default concerning the
 9   copyrightability of his Accidental Livestream, which he plainly intends to then use against
10   Alphabet, YouTube, and other defendants in the related case involving the same video. Plaintiff
11   does not dispute that all of the prerequisites for intervention are met, nor does he deny that
12   intervention would promote judicial economy and reduce the risk of conflicting judgments. His
13   sole basis for opposing intervention is that he voluntarily dismissed Alphabet under Rule 41(a),
14   and that permitting intervention would supposedly amount to “fanning the ashes of the action
15   back to life.” Opp. ¶ 9. But the action is alive against other defendants, and it requires a decision
16   by the Court as to whether the video at issue is copyrightable. That same issue will need to be
17   addressed in a related action where Alphabet and YouTube are still named defendants. It is
18   therefore sensible and appropriate for the Court to permit intervention here, and to consider
19   arguments from all interested parties as to why Plaintiff’s copyright is invalid. It is also the
20   appropriate way to combat Plaintiff’s blatant and ongoing procedural gamesmanship.
21          As to the Accidental Livestream, Plaintiff is incorrect in asserting that the validity of his
22   copyright is “not reviewable.” Under Ninth Circuit law, any presumption of validity of a
23   registered copyright may be overcome with some evidence or proof to the contrary. That
24   evidence is found in the complaint itself, where Plaintiff admits facts he did not provide to the
25   Copyright Office: that the video was a product of a software glitch that he did not cause or notice.
26   Plaintiff concedes in his opposition brief (as he did in his Motion for Default Judgment) that if the
27   video was created in the manner that he alleged in the complaint, he has no valid copyright
28   because the video lacks a human author.


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 1            Plaintiff’s sole defense is that the complaint should not be read to say what it says, and

 2   that the Court should consider the possibility that the video was created by Plaintiff’s slippery

 3   fingers on a keyboard. Plaintiff concedes, however, that “any attempts at explaining how it

 4   happened are just speculation.” That too is fatal to his case, because ultimately it is he who must
 5   establish a valid copyright in the video to state a claim of copyright infringement. If Plaintiff

 6   cannot say how the video was created, then he cannot state, much less prove, his claim.

 7            Even if the video was created by Plaintiff’s errant keystroke (as he asks the Court to

 8   speculate) it still lacks the necessary “creative spark” to be copyrightable. Plaintiff made
 9   absolutely no creative choices in fixing the video or generating its content. The video does not
10   embody a dramatic work, a pantomime, or some other choreographed performance that was

11   captured in the footage. Plaintiff claims that his simple “facial expressions” in the video are

12   expressive content, but a person’s likeness is not copyrightable. Nor is the video a “selfie” or a

13   self-portrait, where the likeness depicted in the content is simultaneously the author who
14   deliberately created it. Here, by Plaintiff’s own account, the very making of the video was

15   accidental and unknown to the person being filmed. For those reasons this case should be
16   dismissed.

17            Dismissal should be with prejudice. Plaintiff asks for leave to amend not to clarify his

18   allegations or provide added detail, but to change the facts concerning how the Accidental
19   Livestream was created—facts that he now, in hindsight, finds inconvenient to his case. That is
20   not a valid reason to amend. The Court should dispose of this frivolous case.

21                                               ARGUMENT

22   I.       ALPHABET AND YOUTUBE SHOULD BE PERMITTED TO INTERVENE
23            BECAUSE THEY ARE DEFENDANTS IN A RELATED ACTION INVOLVING
24            COMMON DISPOSITIVE ISSUES
25            Under Federal Rule of Civil Procedure 24(b)(1)(B), a court may permit intervention when
26   (1) there are grounds for jurisdiction, (2) the motion is timely, and (3) the applicant “has a claim
27   or defense that shares with the main action a common question of law or fact.” MTI at 8 (citing,
28   e.g., United States v. City of L.A., 288 F.3d 391, 403 (9th Cir. 2002)). Once these conditions are


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 1   met, permissive intervention is “committed to the broad discretion of the district court,”

 2   accounting for factors such as whether the intervenor’s interests are adequately represented by

 3   other parties in the case, whether intervention would cause undue delay or prejudice, and judicial

 4   economy. Id. at 8-9 (citing, e.g., Degamo v. Bank of Am., N.A., 849 F. App’x 620, 623 (9th Cir.
 5   2021)).

 6             Plaintiff’s opposition brief is virtually silent on all these factors. He does not deny that the

 7   preconditions are met, specifically (1) that the court has jurisdiction in this federal-question case;

 8   (2) that the intervention request is timely; and (3) that copyrightability of the Accidental
 9   Livestream is a common and potentially dispositive issue in both this and the related action where
10   Alphabet and YouTube are defendants. See MTI at 9. Plaintiff also does not dispute that the

11   discretionary factors favor permissive intervention. He concedes that Alphabet and YouTube’s

12   interests in this action are not being represented; he offers no reason why intervention would

13   cause undue delay; he points to no undue prejudice; and he admits that the same copyrightability
14   issue will need to be considered again in the related case—thereby wasting judicial resources and

15   risking inconsistent judgments. Id. at 9-10.
16             Plaintiff’s only argument is that intervention should be denied because Alphabet was

17   already voluntarily dismissed under Rule 41(a)(1)(A)(i), so allowing it to intervene would be

18   tantamount to circumventing the dismissal and “fanning the ashes of the action back to life.”
19   Opp. ¶¶ 9, 26-28. Plaintiff forgets that YouTube was never made a defendant in this case. More
20   fundamentally, he conflates dismissal of defendants under Rule 41(a) with a motion to intervene

21   as interested non-parties under Rule 24(b). Nothing under Rule 41(a) preempts intervention

22   under Rule 24(b) where, as here, there are strong and independent grounds for intervention. Nor

23   are Alphabet and YouTube attempting to “fan the ashes of the action back into life” (Opp. ¶ 28),

24   because the action is not dead. Plaintiff continues to seek a default judgment against the

25   Individual Defendants, which necessarily requires a finding by this Court that the infringed
26   content is copyrightable. But that same content is at issue in the related case where Alphabet and

27   YouTube remain defendants.

28


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 1             As explained in the opening brief, the Court should also exercise its broad discretion here

 2   to combat Plaintiff’s ongoing abuse of the litigation process. See MTI at 10. While Plaintiff

 3   expresses remorse for his vexatious behavior, he insists that it is “in the past” and “has not

 4   continued in this case.” Opp. ¶¶ 35-40. That is palpably false, as the Court itself has recognized.
 5   See Dkt. 134 (“[T]he Court does not endorse Plaintiff’s efforts to manipulate the litigation process

 6   and his blatant gamesmanship.”); Dkt. 143 (admonishing Plaintiff for filing improper motions

 7   “[d]espite numerous admonishments,” for repeatedly characterizing his motions as

 8   “emergencies,” and for “abus[ing] the judicial process”); Dkt. 147 (reiterating same
 9   admonishment after Plaintiff filed another “emergency” motion two days after being warned to
10   stop doing so).1

11   II.       THE COURT SHOULD DENY PLAINTIFF’S MOTION FOR DEFAULT
12             JUDGMENT BECAUSE HIS ALLEGEDLY INFRINGED LIVESTREAM IS NOT
13             COPYRIGHTABLE
14             As to the core issue in dispute – whether the Accidental Livestream is copyrightable –
15   Plaintiff’s opposition brief confirms that it is not. He makes two basic points: (1) that the Court
16   must presume his copyright is valid; and (2) that the video is a creative work of human authorship
17
           1
           Plaintiff’s abusive tactics continued in connection with this motion. On the evening of
18
     April 26, 2022, Plaintiff claimed in an email to counsel that he had just been released from the
19   hospital. Plaintiff repeated the same story to the Court the next day, saying in a sworn filing that
     he had been hospitalized, and had not even been aware of this motion until he arrived home the
20   night before. Dkt. 139 ¶ 1. Having no reason to doubt his story, we stipulated in good faith to
     extend the briefing schedule on the motion. Minutes after the stipulation was filed, he filed a
21   lengthy, researched, and procedurally-misguided motion to strike, setting a hearing in advance of
22   the earlier motion that we had just agreed to extend. See Dkts. 141, 142. Minutes after that, he
     emailed the clerk and asked: “Any chance the Motion to Strike can get a ruling before the motion
23   for extension can? No need for me to respond to the motion to intervene at all (belated or
     otherwise) if it’s just going to get struck.” When that effort failed (Dkt. 143), he still managed to
24   file a 25-page opposition brief less than 72 hours after he claims to have first learned of the
     motion.
25
        We do not know whether Plaintiff was in fact hospitalized without his phone or laptop,
26
     whether he fabricated the whole thing, or whether there is some truth in between. What we do
27   know is that Plaintiff attempted to pull yet another procedural trick. He duped Alphabet and
     YouTube into adjourning their motion, and then minutes later, swooped in with his own
28   “emergency” motion to try and get ahead of it.


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 1   because it might have been created by his accidental keystroke, rather than a software glitch as he

 2   alleges in the complaint. Both points are incorrect and misunderstand the law.

 3          A.      Plaintiff is Not Entitled to a Presumption of Copyright Validity

 4          Plaintiff begins by claiming that “[t]he presumption of validity of my copyright is not
 5   within this Court’s discretion.” Opp. ¶ 12; see also id. ¶ 48. Alphabet and YouTube already

 6   explained in their motion that “[t]he presumption of the validity of a registered copy-right may be

 7   overcome by the offer [of] some evidence or proof to dispute or deny the plaintiff’s prima facie

 8   case of infringement.” MTI at 11-12 (citing Lamps Plus, Inc. v. Seattle Lighting Fixture Co., 345
 9   F.3d 1140, 1145 (9th Cir. 2003)). Again, that evidence is found in the admissions Plaintiff made
10   in his own complaint: that the video was created by a software glitch – not him – which made his

11   “livestream software turn[] on of its own accord without [him] realizing it”; and that the only

12   notable content in the video consists of sounds that he “did not cause.” SAC (Dkt. 155) ¶¶ 22-23.

13          Plaintiff’s application to register the video with the United States Copyright Office, which
14   the Court can judicially notice, shows that he did not disclose these facts to the copyright

15   examiners. See RJN iso MTI Ex. A (Dkt. 138-2). Plaintiff insists that the Copyright Office was
16   “constructively notified” of these facts, because he submitted a copy of the video with his

17   application and called the video an “Accidental” Livestream. Opp. ¶¶ 2, 65. But that told the

18   examiners nothing about the critical circumstances in which the video was created—information
19   that Plaintiff subsequently admitted in the complaint. To the contrary, Plaintiff characterized the
20   video in his application as a “Dramatic Work” (Dkt. 138-2 at 4), suggesting to the examiners that

21   while some aspect of the video was “accidental,” it still recorded content that was choreographed

22   in some manner. No matter how Plaintiff tries to speculate what the examiners understood, the

23   fact remains that the Court is now in possession of facts and admissions which override any

24   “presumption of the validity” and “deny the plaintiff’s prima facie case of infringement.” MTI at

25   13-14 (citing Lamps Plus, 345 F.3d at 1144-47) (“To rebut the presumption, an infringement
26   defendant must simply offer some evidence or proof to dispute or deny the plaintiff’s prima facie

27   case of infringement.”) (citation omitted)).

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 1          Plaintiff also claims that “[b]arring a showing of actual fraud” on his part, the “USCO’s

 2   decision to grant registration … is not reviewable.” Opp. ¶ 45. That misunderstands the law.

 3   Alphabet and YouTube are not claiming that the registration is invalid per se on the grounds that

 4   Plaintiff committed a deliberate fraud on the Copyright Office. We are claiming instead that the
 5   Court now has “evidence or proof” to overcome the presumption of validity arising from the

 6   registration, which the examiners did not have when they reviewed the application. Whether that

 7   is a result of fraud or innocent mistake is irrelevant. Indeed in the Lamps Plus decision that

 8   Plaintiff cites, the Ninth Circuit reached the same conclusion that Alphabet and YouTube urge
 9   here: that facts before the court were sufficient to overcome the presumption of validity in a
10   registered work, even if the registrant did not intend to defraud the Copyright Office. 345 F.3d at

11   1144-45 (finding that “[t]he record, viewed in the light most favorable to Lamps Plus, does not

12   demonstrate that it intended to defraud the Copyright Office”); id. at 1147 (finding nonetheless

13   that plaintiff’s work was not copyrightable because it lacked “the quantum of originality needed
14   to merit copyright protection,” based on facts not known to the examiners) (citation omitted).

15          Plaintiff responds further that even if there were no presumption of validity, the Court
16   already found earlier in this case that he holds a valid copyright. Opp. ¶ 5. But those findings

17   were made in screening orders before any defendants appeared and before the Court had the

18   benefit of briefing on the issue. See Dkts. 10, 21. The Court may also have been deferring to the
19   Copyright Office’s decision to register the video, without knowing (as it does now) that Plaintiff’s
20   application did not disclose the true nature and circumstances of the video.

21          B.      The Video in Suit is Not a Creative Work of Human Authorship

22          Plaintiff does not dispute that he needs a valid copyright to prevail on his motion for

23   default judgment. See MTI at 10-11. To be copyrightable, that work must (1) contain some

24   minimal degree of creativity, and (2) be fixed by a human author. Id. at 12 (citing, e.g., Feist

25   Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991)). The opening brief establishes
26   that neither requirement is satisfied here. Id. at 12-14. The opposition brief confirms it.

27          As to human authorship, Plaintiff alleges in the complaint, in terms as clear as day, that

28   the Accidental Livestream resulted from a software glitch. He explicitly states that his


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 1   “livestream software turned on of its own accord without me realizing it”—not due to any act on

 2   his part. SAC (Dkt. 55) ¶ 22 (emphasis added). Plaintiff also conceded in his Motion for Default

 3   Judgment that the copyright would be invalid if “the streaming software turned on, entirely of its

 4   own accord, without any human input (knowing or otherwise) causing it to happen”—which,
 5   again, is exactly what he alleges to have happened in the complaint. Dkt. 127-20 ¶ 42. In his

 6   opposition brief, Plaintiff again does not dispute that if what he alleged in the complaint is taken

 7   as true – as it must be on a motion for default judgment – then the copyright is invalid and the

 8   case must be dismissed. See MTI at 12-13 (citing, e.g., Compendium of U.S. Copyright Office
 9   Practices § 313.2 (“works produced by a machine or mere mechanical process that operates
10   randomly or automatically without any creative input or intervention from a human author” are

11   not copyrightable)).

12          Plaintiff argues that Alphabet and YouTube rely on a “hyper-literal interpretation” of the

13   complaint, and that his own allegations should be taken “figuratively, not literally.” Opp. ¶¶ 13,
14   51; see also id. ¶ 93(a) (“my statements were speculative rather than based on personal

15   knowledge”). He now claims – after realizing he may have pleaded himself out of court – that
16   “[t]he odds are overwhelmingly likely that the streaming software turned on as a result of an

17   errant keystroke, rather than purely autonomous means.” Id. ¶ 20. But anyone who owns a

18   computer, a car, or a dishwasher knows that machines are not perfect. Software bugs are as
19   commonplace as printer jams. There is nothing “hyper-literal” or “figurative” about software
20   doing something unexpectedly. Plaintiff alleged that the livestream “turned on of its own accord”

21   because he meant it and believed it. It was only after Plaintiff realized his own allegations meant

22   the video was not copyrightable that he began to change his story.

23          Even if the Court were willing to entertain a different version of events, Plaintiff admits

24   there are only “two possible explanations for how the stream came on”: either (1) “I had

25   accidentally pressed the key on my keyboard to turn the stream on without realizing I had done
26   it”; or (2) as alleged in the complaint, “[t]he stream software came on entirely of its own accord,

27   without any input from me, accidental or otherwise.” Opp. ¶ 81. Plaintiff contends that #1 leads

28   to the video being copyrightable, but that too is incorrect because the video still lacks creativity


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 1   (discussed below). Moreover, Plaintiff admits he has no idea which scenario occurred. Id. ¶ 52

 2   (“I don’t know how the streaming software turned on!”); id. ¶ 53 (“I don’t know how it happened,

 3   and [] any efforts by me to guess as to how it happened are just that: A guess, not based on

 4   personal knowledge.”); id. ¶ 84 (“I don’t know how the streaming software came on, which
 5   means any attempts at explaining how it happened are just speculation, not based on personal

 6   knowledge.”). That is fatal to his case, because Plaintiff must plausibly allege his own cause of

 7   action. Dkt. 10 at 4 (citing Skidmore for Randy Craig Wolfe Trust v. Led Zeppelin, 952 F.3d

 8   1051, 1064 (9th Cir. 2020)). If he cannot allege that the video was a product of human
 9   authorship, contrary to the allegations in his own complaint, he simply cannot prevail on the first
10   element of copyright infringement.

11          The Accidental Livestream also lacks the requisite creativity regardless of how it was

12   made. Even under the first scenario Plaintiff supposes – that the video was created by an errant

13   keystroke – the entire video was recorded without his knowledge or creative input. He did not
14   direct the scenery, position the camera, focus the lens, adjust the lighting, or make any other

15   creative choices that a videographer or director would ordinarily make. Plaintiff argues that
16   “accidental” expression is copyrightable (Opp. ¶ 61), which is sometimes true, but here the very

17   making of the video was unknown to him. Plaintiff’s lone case, Alfred Bell & Co. v. Catalda

18   Fine Arts, Inc., 191 F.2d 99 (2d Cir. 1951), illustrates the distinction. In that case the Second
19   Circuit noted that an author still engages in creative expression even if he or she makes a mistake
20   in the process of creating a work, i.e., due to “[a] copyist’s bad eyesight or defective musculature,

21   or a shock caused by a clap of thunder[.]” Id. at 104-05. Those mistakes are still creative

22   elements because the author was engaged in the deliberate process of creating something (in that

23   case, a mezzotint). “[H]e has employed skill and judgment in its production[,]” even if happy

24   accidents occurred along the way. Id. at 104 n.22. None of that happened here.

25          Tellingly, the only “acts of personal expression” that Plaintiff claims to make in the video
26   are banal “facial expressions[.]” Opp. ¶ 70. But Plaintiff and his facial expressions are merely

27   unwitting subjects of a camera that was rolling without his knowledge or input. Plaintiff’s

28   appearance in the video does not make him its author for copyright purposes, because he was not


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 1   responsible in any copyright-relevant way for its fixation. See, e.g., Garcia v. Google, 786 F.3d

 2   733, 744 (9th Cir. 2015) (en banc) (holding that an actress who appeared in a film, “[h]owever

 3   one might characterize [her] performance,” did not hold any copyright in the film because “she

 4   played no role in the fixation”). If it were otherwise, then anyone who walks in front of a security
 5   camera could claim copyright in the feed.

 6             Plaintiff conflates being the subject of a work and being the author of that work, when

 7   being the subject of a work is neither a necessary nor a sufficient condition for being its author.

 8   He posits that “[i]f I were taking a selfie, any one of those faces would be singularly sufficient
 9   individual creative expression to be entitled to copyright protection.” Opp. ¶ 71. That may be
10   true, but Plaintiff did not take a selfie here. When a person takes a selfie he or she is both the

11   subject of the image and the author, much like an artist who paints a self-portrait. His or her

12   facial expressions form part of a series of creative choices in deliberately capturing the author’s

13   own likeness, including where to position the camera, how to pose, what scenery to include, and
14   when to snap the photo. The author might then edit the image by cropping it, adjusting the

15   lighting, or applying other visual effects. In that case the copyright is owned by the person
16   depicted in the image, because the author and subject are one and the same. But again, that is not

17   what happened here. Whether caused by computer glitch or errant keystroke, Plaintiff had no

18   idea the camera was rolling and made no creative choices when fixing the content in a tangible
19   medium. His facial expressions were not part of, say, a pantomime or dramatic work that he had
20   choreographed and captured on camera. His likeness was simply captured on video. The

21   Accidental Livestream thus lacks the creative spark by a human author that is necessary to make it

22   copyrightable.

23             Lastly, Plaintiff claims that the content must be creative because “many people are getting

24   enjoyment out of watching the stream[.]” Opp. ¶¶ 74-77. That is not evidence that the content is

25   a copyrightable work of authorship. If anything, it reflects only that the content is embarrassing,
26   and that Plaintiff is being widely ridiculed online for his litigious behavior. That is unfortunate,

27   but it has nothing to do with whether the video is a copyrightable work of which Plaintiff is the

28   author.


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 1          C.         Plaintiff Cannot Contradict Prior Admissions in an Amended Complaint

 2          Plaintiff argues that even if the video is not copyrightable based upon the allegations made

 3   in his complaint, he “can easily correct those deficiencies in an amended complaint.” Opp. ¶ 21;

 4   see also id. ¶¶ 87-91. He seeks not to provide further details or clarification, but to undo an
 5   admission that the “livestream software turned on of its own accord without me realizing it,”

 6   along with others that are fatal to his claims.

 7          This he cannot do. “To determine whether amendment would be futile, courts examine

 8   whether the complaint can be amended to cure the defect requiring dismissal ‘without
 9   contradicting any of the allegations of [the] original complaint.’” Kifle v. YouTube LLC, 2022
10   U.S. Dist. LEXIS 20014, at *8 (N.D. Cal. Feb. 3, 2022) (citing Reddy v. Litton Indus., Inc., 912

11   F.2d 291, 296-97 (9th Cir. 1990) (“Although leave to amend should be liberally granted, the

12   amended complaint may only allege other facts consistent with the challenged pleading.”)

13   (citation omitted)). Plaintiff cannot use an amendment to change inconvenient facts that he
14   already swore to, simply to dodge a defense that he now finds troublesome.

15                                             CONCLUSION
16          For the foregoing reasons, and those provided in the opening brief, the Court should
17   (1) permit Alphabet and YouTube to intervene for purposes of opposing Plaintiff’s Motion for
18   Default Judgment; (2) deny Plaintiff’s Motion for Default Judgment; and (3) dismiss this case
19   with prejudice.
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     REPLY ISO MOTION TO INTERVENE                     -10-                   CASE NO.: 4:21-CV-04184-JSW
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 1   Dated: June 1, 2022                Respectfully submitted,

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                                        Professional Corporation
 3
                                        By: s/ Jason Mollick
 4
 5                                      Jason Mollick (pro hac vice)
                                        1301 Avenue of the Americas, 40th Floor
 6                                      New York, New York 10019
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 7                                      Facsimile: (212) 999-5899
                                        jmollick@wsgr.com
 8
 9                                      Counsel for Intervenors
                                        Alphabet Inc. and YouTube, LLC
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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID A. STEBBINS,                                    Case No. 21-cv-04184-JSW
                                                         Plaintiff,
                                   8
                                                                                               ORDER DENYING MOTION TO FILE
                                                  v.                                           REVISED OR SUPPLEMENTAL
                                   9
                                                                                               OPPOSITION
                                  10     KARL POLANO, et al.,
                                                                                               Re: Dkt. No. 148
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiff has filed a motion requesting leave to file a revised or supplemental opposition to

                                  14   the motion to intervene. The Court DENIES Plaintiff’s request. If, after the motion is fully

                                  15   briefed, the Court determines it requires supplemental briefing or a link to Plaintiff’s Accidental

                                  16   Livestream, it will issue an order to that effect.

                                  17           IT IS SO ORDERED.

                                  18   Dated: May 25, 2022

                                  19                                                        ______________________________________
                                                                                            JEFFREY S. WHITE
                                  20                                                        United States District Judge
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                                   3
                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     DAVID A. STEBBINS,                                 Case No. 21-cv-04184-JSW
                                                        Plaintiff,
                                   8
                                                                                            ORDER DENYING EMERGENCY
                                                 v.                                         MOTION TO STRIKE
                                   9
                                         KARL POLANO, et al.,                               Re: Dkt. No. 142
                                  10
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff has filed a motion styled as an emergency motion to strike the motion to intervene

                                  14   filed by Alphabet Inc. and YouTube LLC. (Dkt. No. 138.) Plaintiff’s motion is nothing more

                                  15   than an attempted challenge to the legal sufficiency of motion to intervene. The Court DENIES

                                  16   Plaintiff’s motion.

                                  17          Motions to strike are governed by Rule 12(f), which states that “[t]he court may strike

                                  18   from a pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous

                                  19   matter.” Fed. R. Civ. P. 12(f) (emphasis added). Rule 7(a) defines a pleading as “(1) a complaint;

                                  20   (2) an answer to a complaint; (3) an answer to a counterclaim designated as a counterclaim; (4) an

                                  21   answer to a crossclaim; (5) a third-party complaint; (6) an answer to a third-party complaint; and

                                  22   (7) if the court orders one, a reply to an answer.” Fed. R. Civ. P. 7(a). A motion to intervene is

                                  23   not a pleading and therefore is not susceptible to a motion to strike. Even if this were not the case,

                                  24   Rule 12(f) does not apply because the motion to intervene is not redundant, immaterial,

                                  25   impertinent, or scandalous. Plaintiff may raise his arguments in opposition to intervention in his

                                  26   response to the motion to intervene.

                                  27          Further, the Court takes issue with Plaintiff’s repeated characterization of his motions as

                                  28   “emergency” motions. The Court has already stricken a previous “emergency motion” for failure
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                                   1   to comply with the Local Rules. (Dkt. No. 134.) Despite numerous admonishments, Plaintiff

                                   2   continues to file requests with the Court that do not comply with the Federal Rules of Civil

                                   3   Procedure and the Local Rules. Pro se litigants are not immune from the rules of procedure that

                                   4   govern other litigants. King v. Atiyeh, 814 F.2d 565, 567 (9th Cir. 1987). Plaintiff’s improperly

                                   5   filed motions preempt the use of judicial resources that might otherwise be devoted to adjudicating

                                   6   the meritorious claims of other litigants. If Plaintiff continues to abuse the judicial process in this

                                   7   way, the Court will issue an order to show cause why he should not be declared a vexatious

                                   8   litigant subject to a pre-filing order.

                                   9           IT IS SO ORDERED.

                                  10   Dated: April 27, 2022

                                  11                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  12                                                     United States District Judge
Northern District of California
 United States District Court




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13                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                      OAKLAND DIVISION
15
16   DAVID A. STEBBINS,                          )   CASE NO.: 4:21-cv-04184-JSW
                                                 )
17                 Plaintiff,                    )   MOTION TO INTERVENE
                                                 )
18
            v.                                   )   Judge: Hon. Jeffrey S. White
19                                               )   Date: June 3, 2022
     KARL POLANO et al.,                         )   Time: 9:00 AM
20                                               )   By videoconference
                   Defendants.                   )
21                                               )   Action Filed: June 2, 2021
                                                 )
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 1                                        NOTICE OF MOTION

 2          PLEASE TAKE NOTICE that on June 3, 2022, at 9:00 a.m., or as soon thereafter as the
 3   matter may be heard, in the United States District Court, Northern District of California, Oakland
 4   Courthouse, Courtroom 5 – 2nd Floor, located at 1301 Clay Street, Oakland, California 94612,
 5   before the Honorable Jeffrey S. White, non-parties Alphabet Inc. (“Alphabet”) and YouTube,
 6   LLC (“YouTube”) will and hereby do move the Court to permit them to intervene in this action
 7   pursuant to Federal Rule of Civil Procedure 24, for purposes of opposing Plaintiff David
 8   Stebbins’s Motion for Default Judgment against defendants Karl Polano, Frederick Allison, and
 9   Raul Mateas (collectively, the “Individual Defendants”). This Motion is based on this Notice of
10   Motion, the below Memorandum of Points and Authorities, the concurrently filed Request For
11   Judicial Notice and accompanying Exhibit (“RJN”), all other matters of which this Court may
12   take judicial notice, the pleadings, files, and records in this action, and such other argument as
13   may be heard by the Court.
14                                           INTRODUCTION
15          Non-parties Alphabet and YouTube ask that the Court exercise its broad discretion under
16   Federal Rule 24(b) to permit them to intervene on an issue that is common to this case and a
17   related action where they are named defendants. Permitting intervention would serve judicial
18   economy and prevent Plaintiff’s litigation gamesmanship.
19          Plaintiff David Stebbins, a recognized “vexatious” pro se litigant (Stebbins v. Stebbins,
20   2013 U.S. Dist. LEXIS 93528 (W.D. Ark. July 3, 2013)), has asserted copyright infringement
21   claims alleging that a handful of Individual Defendants (who have all defaulted) posted
22   infringing content on YouTube, Twitch, and Discord. Rather than simply sue the persons who
23   posted that content, Plaintiff also sued Alphabet (YouTube’s parent company), Amazon
24   (Twitch’s parent company), and Discord to obtain an injunction requiring those “Corporate
25   Defendants” to permanently ban the Individual Defendants from their services. Plaintiff also
26   filed a motion for leave to add YouTube as a defendant. A few months later, Plaintiff filed a
27   related action in this Court alleging additional infringements of the same content—again naming
28


     MOTION TO INTERVENE                              -1-                      CASE NO.: 4:21-CV-04184-JSW
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 1   the Corporate Defendants and/or their subsidiaries as defendants, including Alphabet and

 2   YouTube. Stebbins v. Rebolo, 4:22-cv-00546-JSW (the “Related Case”).

 3          There are major defects in Plaintiff’s copyright claims. Among others, the sole work at

 4   issue in this case – a video of Plaintiff that was recorded accidentally through a fixed camera – is
 5   not copyrightable to begin with. Copyright protection subsists in creative works of authorship

 6   that are fixed in a tangible medium of expression by a human author. But here, Plaintiff admits

 7   that the video (the “Accidental Livestream”) was created by accident, without his knowledge,

 8   and without the slightest degree of creativity on his part. The fixation of the video itself was
 9   done by computer software – not a human author – without Plaintiff even realizing the camera
10   had turned on. Because such a work cannot be copyrightable, all of Plaintiff’s infringement

11   claims in this case should be dismissed without needing to go further. His infringement claims

12   in the related case involving the same video should be dismissed as well.

13          Plaintiff claims he is confident in the validity of his copyright, but his behavior shows
14   otherwise. As soon as Plaintiff learned that the Corporate Defendants would be contesting his

15   copyright through a motion to dismiss, he rushed to dismiss them voluntarily, moved to strike
16   their motion, and implored the Court to “cast the contents therein from its mind.” In so doing,

17   Plaintiff admitted that the sole reason he “played this trump card” was to silence anyone from

18   challenging his copyright. The Court granted Plaintiff’s motion to strike, finding that it lacked
19   discretion to proceed otherwise under Federal Rule 41(a)(1). But in so doing, the Court rightly
20   called out “Plaintiff’s efforts to manipulate the litigation process and his blatant gamesmanship.”

21          Fortunately, the Court does have discretion to deal with Plaintiff’s abusive tactics in

22   another way. While the Corporate Defendants have been dismissed from this case, Alphabet and

23   YouTube remain defendants in the related case where the same alleged copyright is at issue.

24   The Court, therefore, has broad discretion to permit them to intervene under Federal Rule 24(b),

25   which authorizes anyone to be heard in any action who “has a claim or defense that shares with
26   the main action a common question of law or fact.” Here, that common question is the validity

27   of Plaintiff’s copyright in the Accidental Livestream, which is common to both actions.

28   Accordingly, Alphabet and YouTube respectfully request that the Court consider the substantive


     MOTION TO INTERVENE                             -2-                      CASE NO.: 4:21-CV-04184-JSW
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 1   evidence and arguments set forth herein, deny Plaintiff’s Motion for Default Judgment against

 2   the Individual Defendants, and dismiss this case.

 3                                           BACKGROUND

 4          A.      Plaintiff is a Vexatious Litigant and his Suits Have Been Deemed Frivolous
 5          Plaintiff, a self-proclaimed “Youtuber” and “Twitch Streamer,” goes by the online alias
 6   “Acerthorn.” Dkt. 55 (SAC) ¶ 1. He is widely ridiculed by users on those and other platforms,
 7   in large part because of his years’-long abuse of the court system. Plaintiff has bogged down
 8   courts across the nation with frivolous lawsuits. In this District, for example, he sued Alphabet’s
 9   subsidiary, Google, to confirm a purported “arbitration award” for half a trillion dollars, even
10   though no arbitration actually occurred. Stebbins v. Google, Inc., 2011 U.S. Dist. LEXIS 125701
11   (N.D. Cal. Oct. 27, 2011) (dismissing sua sponte as “frivolous” and “clearly baseless”). There
12   are many other suits just like that one. See Stebbins v. Texas, 2011 U.S. Dist. LEXIS 146248, at
13   *8-9 (N.D. Tex. Oct. 24, 2011) (warning Plaintiff could face monetary sanctions and/or that the
14   court would ban him from filing further actions without prior approval); Stebbins v. Steen, 2013
15   U.S. Dist. LEXIS 117914, at *5-6 (E.D. Ark. Aug. 20, 2013) (concluding his complaint was
16   frivolous and failed to state a claim); Stebbins v. Stebbins, 575 F. App’x 705, 705 (8th Cir. 2014)
17   (affirming dismissal and noting it is “undisputed that Stebbins has proceeded in forma pauperis
18   on at least sixteen complaints [as of 2014] that proved meritless, and has filed numerous
19   frivolous motions”); Stebbins v. Bradford, 2013 U.S. Dist. LEXIS 94179, at *7 (W.D. Ark. July
20   5, 2013) (dismissing his complaint as frivolous), aff’d, 552 F. App’x 606 (8th Cir. 2014).
21          Plaintiff has been reprimanded multiple times. One federal court noted that “time spent
22   dealing with Mr. Stebbins’s filings prevents the Court from addressing the genuine, vexing
23   problems that people trust the Court to resolve quickly and fairly.” Stebbins v. Microsoft, Inc.,
24   2012 WL 12896360, at *1 (W.D. Wash. Jan. 13, 2012), aff’d, 520 F. App’x 589 (9th Cir. 2013).
25   Similarly, the Western District of Arkansas (Plaintiff’s home district) declared him a “vexatious”
26   litigant who has “abused the system” with “a history of filing ultimately meritless cases upon
27   which the Court has been forced to expend countless hours of time and judicial resources. Not
28   only has Plaintiff filed numerous cases, but he has also filed over one hundred motions within


     MOTION TO INTERVENE                             -3-                      CASE NO.: 4:21-CV-04184-JSW
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 1   those cases, some of which have been repetitive, and few of which have had any merit.”

 2   Stebbins v. Stebbins, 2013 U.S. Dist. LEXIS 93528, at *3-4. When that court limited him to

 3   filing one case per every three months (id. at *8-9), he evaded the order by suing in the Eastern

 4   District, and then attempting to transfer to the Western District. Stebbins v. Hixson, 2018 U.S.
 5   Dist. LEXIS 79361, at *3-4, *7-8 (W.D. Ark. May 8, 2018).

 6           B.     Plaintiff’s Abusive Litigation Tactics Have Continued in this Case

 7           Plaintiff’s conduct has continued here. In this case alone there are already over 130

 8   docket entries, including dozens of “motions” filed by him. The Court has denied the vast
 9   majority of them. Plaintiff has also engaged in abusive litigation tactics that he admits were
10   designed to prevent the Court from considering a major weakness in his copyright infringement

11   claims: the fact that the sole work in suit is not copyrightable to begin with.

12           According to Plaintiff, on April 10, 2021, his “livestream software turned on of its own

13   accord without me realizing it. It stayed on for nearly two hours before I realized it was on and
14   closed it down. During this accidental livestream, my viewers were able to see me engaging in

15   mundane, daily activities.” Dkt. 55 (SAC) ¶ 22. Plaintiffs adds that “the only interesting and
16   memorable part of this otherwise boring and contentless livestream” were “strange noises” that

17   he “did not cause.” Id. ¶ 23. He allegedly registered this “Accidental Livestream” with the

18   United States Copyright Office; however, he did not disclose any of the aforementioned facts
19   concerning the nature and circumstances of the video in his application. RJN, Ex. A.1
20           Plaintiff asserts copyright infringement claims in this case against three Individual
21   Defendants who allegedly posted copies of the Accidental Livestream on YouTube, Twitch, and
22   Discord. All three Individual Defendants have defaulted. Plaintiff also initially sued Alphabet
23   (the parent company of YouTube), Amazon (the parent company of Twitch), and Discord to
24   assert a “claim” for an injunction that would require those “Corporate Defendants” (and/or their
25
26   1
       Plaintiff claims that he offers the video for “at least” $20 per month ($240 per year), which is
27   more expensive than a Netflix subscription. Dkt. 55 (SAC) ¶¶ 24-25. No one has ever paid for
     it. Id. The complaint, and his litigation history, strongly suggests that Plaintiff did this simply to
28   manufacture a damages claim over a video that has no actual market value. Id. ¶ 131.


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 1   subsidiaries, including YouTube) to permanently terminate the Individual Defendants’ accounts

 2   and prevent them from creating new accounts in the future—even though YouTube, Twitch, and

 3   Discord had already removed all instances of the video from their services. See Dkt. 55 (SAC) ¶

 4   60 (Twitch removed after two hours); id. ¶¶ 26, 29, 46, 61 (YouTube removed all alleged
 5   infringements, often within hours); id. ¶ 44 (Discord removed all alleged infringements).

 6           Plaintiff also filed a related action in this Court, Stebbins v. Rebolo, No. 4:22-cv-00546-

 7   JSW, and recently amended his complaint to include Alphabet, YouTube, and others. See

 8   Related Case Dkt. 15. One of the alleged copyrighted videos at issue in the related case is the
 9   same Accidental Livestream at issue here. Id. ¶¶ 20-25. For this reason, the Court stayed the
10   related case at Plaintiff’s request pending final resolution of this case, because “a ruling in the

11   [first] case will be relevant and potentially fully dispositive in the [second] case.” Related Case

12   Dkt. 14. In that case Plaintiff alleges additional infringements by at least nine individual

13   defendants, and again seeks an injunction requiring Alphabet and YouTube to permanently ban
14   the users’ accounts. Related Case Dkt. 15 ¶¶ 182-183. Plaintiff also asserts secondary

15   infringement claims against Alphabet and YouTube because YouTube declined to remove
16   certain videos that used portions of the Accidental Livestream for purposes of criticizing him—

17   videos that are clearly fair use under 17 U.S.C. § 107.2 Id. ¶¶ 166-168.

18           On April 7, 2022, Plaintiff filed a Motion for Default Judgment against the Individual
19   Defendants in this case. Dkt. 127. In that motion he expresses concern that the Corporate
20   Defendants might challenge the copyrightability of his Accidental Livestream. Id. at 5-6 ¶ f.
21   Realizing that the Corporate Defendants would indeed bring this issue to the Court’s attention,
22

23   2
       One of the allegedly infringing videos in the related case, entitled “Acerthorn: Serial DMCA
24   Abuse Controversy,” was posted by a third-party “SidAlpha” and can be found at
     https://www.youtube.com/watch?v=WB-Xd1qDKIY. This video features prominently in
25   Plaintiff’s Motion for Default Judgment against the Individual Defendants as a measure of his
     damages (which makes no sense, since the video was not created or posted by the Individual
26
     Defendants in default here). See Dkt. 127-20 ¶¶ 38-49; Dkt. 247-18. The video provides a
27   detailed history of Plaintiff’s abuse of the Court system and the DMCA to strike videos that
     fairly criticize him. Plaintiff sued YouTube in the Rebolo action for declining to remove it, even
28   though the video (and others alleged in that complaint) is plainly fair use criticism.


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 1   Plaintiff emailed the undersigned counsel for Alphabet shortly before the Corporate Defendants

 2   filed their Motion to Dismiss. In that email Plaintiff taunted that he could hide the issue from the

 3   Court’s attention and secure an unopposed default judgment against the Individual Defendants,

 4   simply by dismissing the Corporate Defendants voluntarily on the same day they file their
 5   motion. And in the process, he can require the Corporate Defendants to expend even more legal

 6   fees by re-litigating the same issue in the related case:

 7                  I could simply ... dismiss your client from the Polano case! If I did
                    that, the dismissal would be without prejudice, allowing me to re-
 8                  file the request for prospective injunctive relief as part of the
                    Rebolo case. So I wouldn’t even be missing out on that injunction.
 9
                    The[n], you won’t have a choice but to wait until the Rebolo case
10                  to challenge the validity of the copyright, at which point you will
                    get nowhere with that challenge because my copyright is indeed
11                  valid. If I dismissed Alphabet as a party, you would likely not get
                    your attorneys [sic] fees, for the reasons I set forth last weekend.3
12

13           Minutes later, at the same time as the Corporate Defendants were in the process of filing
14   their Motion to Dismiss (Dkt. 129), Plaintiff filed a Notice of Voluntarily Dismissal to remove
15   the Corporate Defendants from the case (Dkt. 128). In the Notice Plaintiff admits that his sole
16   reason for abruptly dismissing the Corporate Defendants on the day their responses were due was
17   to prevent the Corporate Defendants from exposing the invalidity of his alleged copyright.
18   Plaintiff argues that any consideration of this issue “would only result in tedious delays in a case
19   where I was about to get a default judgment otherwise.” Dkt. 128 ¶ 1. But Plaintiff promises to
20   re-litigate the issue against the same Corporate Defendants “in the near future,” after he gets an
21   unopposed default judgment where his alleged copyright is not challenged:
22                  This is not a surrender. This is a tactical retreat. I wish to have
                    this action dismissed without prejudice, so I can re-file the case
23                  again, seeking to obtain the prospective injunctive relief under 17
                    USC § 512(j) in the near future. This is just being done so that
24
                    Alphabet (and possibly the other nominal defendants) cannot delay
25                  this case that is already in the eleventh hour, just out of sheer
                    pettiness.
26

27   3
       We do not attach the remainder of this email correspondence because prior communications in
28   the thread contain confidential settlement communications.


     MOTION TO INTERVENE                              -6-                     CASE NO.: 4:21-CV-04184-JSW
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 1   Id. ¶ 3 (emphasis in original).

 2           The Corporate Defendants filed their Motion to Dismiss at virtually the same time as

 3   Plaintiff filed his Notice of Voluntary Dismissal. Dkt. 129. As Plaintiff feared, the motion

 4   explained that the Accidental Livestream is not copyrightable because it lacks creativity and
 5   human authorship, based on facts admitted in the complaint. Dkt. 129 at 5-7. The Corporate

 6   Defendants also proffered a copy of Plaintiff’s application to register the video with the United

 7   States Copyright Office, which reveals that he did not disclose the true nature and circumstances

 8   of the video to the Copyright Office. Dkt. 129-1. Plaintiff immediately moved to strike the
 9   Motion to Dismiss (Dkt. 130), insisting that he “should not need to” “defend the validity of the
10   copyright.” Dkt. 132 ¶ 13. Plaintiff brags that because he “thought of this tactic” and “played

11   this trump card,” he has “stripp[ed] [the Corporate Defendants] of their opportunity to litigate the

12   case with me.” Id. ¶ 14.

13           The Court granted Plaintiff’s motion to strike, finding that it lacked authority to disregard
14   or to place a condition on the voluntary dismissal. Dkt. 134. However, the Court noted that it

15   “does not endorse Plaintiff’s efforts to manipulate the litigation process and his blatant
16   gamesmanship. Should Plaintiff continue to dismiss and refile cases in bad faith to obtain a

17   different result, he risks being declared a vexatious litigant in this district.” Id. Plaintiff

18   responded the next day with a “Motion to Clarify” in which he asks the Court to “do whatever it
19   takes to cast the contents [of the copyrightability arguments] from its mind,” and to grant default
20   judgment “assuming the copyright’s validity to be unchallenged.” Dkt. 135.

21           Meanwhile, the Corporate Defendants and/or their subsidiaries (including Alphabet and

22   YouTube) remain defendants in the related action, where copyrightability of the same Accidental

23   Livestream remains squarely at issue. Related Case. Dkt. 15.

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     MOTION TO INTERVENE                               -7-                       CASE NO.: 4:21-CV-04184-JSW
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 1                                              ARGUMENT

 2   I.      ALPHABET AND YOUTUBE SHOULD BE PERMITTED TO INTERVENE
 3           BECAUSE THEY ARE DEFENDANTS IN A RELATED ACTION INVOLVING
 4           COMMON DISPOSITIVE ISSUES
 5           Although Alphabet and YouTube are no longer defendants or proposed defendants in this
 6   case, Federal Rule 24(b)(1)(B) authorizes the Court on timely motion to “permit anyone to
 7   intervene who … has a claim or defense that shares with the main action a common question of
 8   law or fact.” “Thus, a court may grant permissive intervention where the applicant for
 9   intervention shows (1) independent grounds for jurisdiction; (2) the motion is timely; and (3) the
10   applicant’s claim or defense, and the main action, have a question of law or a question of fact in
11   common.” United States v. City of L.A., 288 F.3d 391, 403 (9th Cir. 2002) (citation omitted);
12   accord, e.g., California v. Health & Hum. Servs., 330 F.R.D. 248, 252 (N.D. Cal. 2019).
13   However, the first prong – an “independent ground for subject matter jurisdiction” – “does not
14   apply to proposed intervenors in federal-question cases when the proposed intervenor is not
15   raising new claims.” Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 844 (9th
16   Cir. 2011); accord, e.g., Health & Hum. Servs., 330 F.R.D. at 254. In such cases “the identity of
17   the parties is irrelevant and the district court’s jurisdiction is grounded in the federal question(s)
18   raised by the plaintiff.” Freedom from Religion Foundation, 644 F.3d at 844.4
19           Once these conditions are met, permissive intervention is “committed to the broad
20   discretion of the district court.” Degamo v. Bank of Am., N.A., 849 F. App’x 620, 623 (9th Cir.
21

22   4
       Although Rule 24(c) states that a motion to intervene should “be accompanied by a pleading
23   that sets out the claim or defense for which intervention is sought,” that “is not required where …
     the movant describes the basis for intervention with sufficient specificity to allow the district
24   court to rule.” Dixon v. Cost Plus, 2012 U.S. Dist. LEXIS 90854, at *16-17 (N.D. Cal. June 27,
     2012) (citation omitted); see also, e.g., Westchester Fire Ins. Co. v. Mendez, 585 F.3d 1183,
25   1188 (9th Cir. 2009) (“Courts, including this one, have approved intervention motions without a
     pleading where the court was otherwise apprised of the grounds for the motion.”) (citation
26
     omitted). Alphabet and YouTube do not attach a pleading here because they are not asserting a
27   legal claim against the Plaintiff, their arguments are reflective of those that would be made on a
     motion to dismiss, and they rely on facts that are admitted in Plaintiff’s own complaint. The
28   grounds for intervention and for dismissing this case are also fully set forth in this motion.


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 1   2021) (citation omitted). Courts consider whether the intervenor’s interests are adequately

 2   represented by other parties in the case; whether intervention would cause undue delay or

 3   prejudice; and judicial economy. Venegas v. Skaggs, 867 F.2d 527, 530-31 (9th Cir. 1989),

 4   aff’d, 495 U.S. 82 (1990); Fed. R. Civ. P. 24(b)(3); see also, e.g., Health & Hum. Servs., 330
 5   F.R.D. at 255 (finding intervention would “not unduly delay or prejudice the adjudication of the

 6   original parties’ rights. If anything, allowing intervention will promote judicial economy and

 7   spare the parties from needing to litigate a similar case in another district.”).

 8          All of the conditions for permissive intervention are met here. First, there is no need for
 9   independent grounds for jurisdiction since this is a federal-question case, and Alphabet and
10   YouTube are not raising new claims. Second, this motion is timely because Alphabet and
11   YouTube brought it only one week after Plaintiff voluntarily dismissed the Corporate
12   Defendants, and there are no pending deadlines. Third, copyrightability is a common issue to
13   both this and the related action where Alphabet and YouTube are still defendants. As noted
14   above, the Court stayed the related action at Plaintiff’s request for this very reason: because “a
15   ruling in [this first] case will be relevant and potentially fully dispositive in the [second] case.”
16   Related Case Dkt. 14. A grant of default judgment here necessarily requires a finding that
17   Plaintiff has a valid copyright in the Accidental Livestream. That could lead to inconsistent
18   results concerning the same issue in the related case, where the validity of the same copyrighted
19   video will be at issue. Indeed, the Court previously recognized this risk as sufficient for denying
20   Plaintiff’s first motion for default judgment against a subset of defendants. See Dkt. 99 at 3
21   (finding that “denial of a default judgment motion is necessary to avoid an inconsistent result”).
22          The discretionary factors favor permissive intervention as well. Alphabet and YouTube’s
23   interests are not being represented in any fashion, given that all remaining defendants are in
24   default. Intervention would not cause undue delay, since there are no other deadlines pending in
25   this case. Intervention will not be unfairly prejudicial, because Alphabet and YouTube only ask
26   that Plaintiff be held to his burden of establishing a valid copyright. Finally, intervention would
27   promote judicial economy, because the Court will otherwise need to consider the same issue
28   twice. If the Court does not hear the arguments herein concerning copyrightability, there is a


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 1   substantial risk that the Court may issue a default judgment in this case, only to realize later that

 2   the ruling was incorrect.

 3          The Court should also exercise its broad discretion to combat “Plaintiff’s efforts to

 4   manipulate the litigation process and his blatant gamesmanship.” Dkt. 134 at 1. Plaintiff is a
 5   vexatious litigant with a long history of abusing the court system. As one court described it,

 6   “time spent dealing with Mr. Stebbins’ filings prevents the Court from addressing the genuine,

 7   vexing problems that people trust the Court to resolve quickly and fairly.” Stebbins v. Microsoft,

 8   Inc., 2012 WL 12896360, at *1. What happened in recent days is the same old story, and the
 9   Court need not tolerate it. Even if the Court had no discretion to consider the Corporate
10   Defendants’ Motion to Dismiss (see Dkt. 134), it does have broad discretion to permit Alphabet

11   and YouTube to intervene as interested parties, given their continued status as defendants in the

12   related case where the same copyrighted work is at issue.

13          In sum, because any ruling in this case will necessarily impact overlapping issues in the
14   related case, the Court should consider the arguments set forth below concerning the invalidity of

15   Plaintiff’s copyright in the Accidental Livestream.
16   II.    THE COURT SHOULD DENY PLAINTIFF’S MOTION FOR DEFAULT

17          JUDGMENT BECAUSE HIS ALLEGEDLY INFRINGED LIVESTREAM IS NOT

18          COPYRIGHTABLE
19          Plaintiff’s Motion for Default Judgment should be denied, and this case should be
20   dismissed, because the Accidental Livestream is not copyrightable. The Court need go no

21   further to dispose of this entire litigation and much of the related case.

22          Plaintiff thinks that because he “thought of this tactic” to dismiss the Corporate

23   Defendants (Dkt. 132 ¶ 15), the Court has no choice but to issue judgment in his favor,

24   “including assuming the copyright’s validity to be unchallenged.” Dkt. 135 ¶ 12. Not so. As

25   the Court explained in denying Plaintiff’s prior motion for default judgment, “[a] defendant’s
26   default does not automatically entitle the plaintiff to a court-ordered judgment.” Dkt. 99 (citing

27   Draper v. Coombs, 792 F.2d 915, 924-25 (9th Cir. 1986)). “A district court has discretion in

28   deciding whether to enter a default judgment.” Id. (citing Aldabe v. Aldabe, 616 F.2d 1089, 1092


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 1   (9th Cir. 1980)). In exercising this discretion a court considers several factors, including (as

 2   relevant here) “the merits of the plaintiff’s substantive claim,” “the sufficiency of the complaint,”

 3   and “the strong policy underlying the Federal Rules of Civil Procedure favoring decisions on the

 4   merits.” Id. (citing Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986)). While factual
 5   allegations in the complaint are assumed to be true, legal conclusions – such as whether Plaintiff

 6   has a valid copyright – are not. Id. (citing TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 917

 7   (9th Cir. 1987)).

 8          Moreover, the Court should be mindful that Plaintiff is proceeding in forma pauperis and
 9   therefore, if his complaint lacks an arguable basis either in law or in fact, the Court has “the
10   unusual power to pierce the veil of the complaint’s factual allegations and dismiss those claims

11   whose factual contentions are clearly baseless.” Stebbins v. Google, Inc., 2011 U.S. Dist. LEXIS

12   125701, at *10-11. The Court may exercise this power “at any time.” 28 U.S.C. § 1915(e)(2)

13   (“[T]he court shall dismiss the case at any time if the court determines that … the action or
14   appeal … is frivolous or malicious [or] fails to state a claim on which relief may be granted.”).

15   This in forma pauperis process “is designed largely to discourage the filing of, and waste of
16   judicial and private resources upon, baseless lawsuits that paying litigants generally do not

17   initiate because of the costs of bringing suit[.]” Neitzke v. Williams, 490 U.S. 319, 327 (1989).

18   That concern is particularly acute here given Plaintiff’s abuse of the court system, including in
19   this very case.
20          To state a claim for copyright infringement, Plaintiff must first show “that he owns a

21   valid copyright in the work” at issue. Dkt. 10 at 4 (citing Skidmore for Randy Craig Wolfe Trust

22   v. Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020) (en banc)). While Plaintiff did register the

23   Accidental Livestream, and such registration constitutes “prima facie evidence of the validity of

24   the copyright,” “[t]he evidentiary weight to be accorded the certificate of a registration … shall

25   be within the discretion of the court.” 17 U.S.C. § 410(c). In the Ninth Circuit, “[t]he
26   presumption of the validity of a registered copy-right may be overcome by the offer [of] some

27   evidence or proof to dispute or deny the plaintiff’s prima facie case of infringement.” Lamps

28   Plus, Inc. v. Seattle Lighting Fixture Co., 345 F.3d 1140, 1145 (9th Cir. 2003) (citation omitted).


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 1   Here, that proof is found in the complaint itself, in which Plaintiff admits that the Accidental

 2   Livestream lacks even the slightest modicum of creativity, and is not a product of human

 3   authorship.

 4            “Copyright protection subsists … in original works of authorship fixed in any tangible
 5   medium of expression ….” 17 U.S.C. § 102(a). “The sine qua non of copyright is originality.

 6   To qualify for copyright protection, a work must be original to the author. Original, as the term

 7   is used in copyright, means … that it possesses at least some minimal degree of creativity.”

 8   Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991) (citation omitted). “To be
 9   sure, the requisite level of creativity is extremely low[,]” but the work must at least possess
10   “some creative spark” to be copyrightable. Id. Moreover, the “fixing” of a creative work in a

11   tangible medium of expression must be done “by or under the authority of the author.” 17

12   U.S.C. § 101. That author must be a human, not a machine. Compendium of U.S. Copyright

13   Office Practices § 313.2 (“works produced by a machine or mere mechanical process that
14   operates randomly or automatically without any creative input or intervention from a human

15   author” are not copyrightable)5; cf. Naruto v. Slater, 2016 U.S. Dist. LEXIS 11041 (N.D. Cal.
16   Jan. 28, 2016), aff’d, 888 F.3d 418 (9th Cir. 2018) (finding monkey cannot sue for infringement
17   of a selfie it took with a camera). These two requirements – creativity and human authorship –
18   are consistent with the Constitution, which calls upon Congress to protect the rights of “Authors”
19   to “promote the Progress of Science and useful Arts.” U.S. Const. Art. I, § 8, Cl. 8.
20            Here, Plaintiff states in the SAC that the Accidental Livestream was created when “my
21   livestream software turned on of its own accord without me realizing it.” Dkt. 55 (SAC) ¶ 22
22   (emphasis added). The software remained on for nearly two hours until he “realized it was on,”
23   at which point he turned it off. Id. During this time Plaintiff could be seen doing “mundane,
24   daily activities.” Id. (emphasis added). “[T]he only interesting and memorable part of this
25   otherwise boring and contentless livestream” were “strange noises” that Plaintiff says he “did
26   not cause.” Id. ¶ 23 (emphasis added). Thus by his own admission, the video lacks even the
27
     5
28       Available at https://www.copyright.gov/comp3/chap300/ch300-copyrightable-authorship.pdf.


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 1   slightest creative spark necessary for it to be copyrightable. It shows nothing other than

 2   “mundane, daily activities”; it is “boring and contentless”; and the only notable content consists

 3   of sounds that he “did not cause.” Plaintiff made no creative choices in generating this content,

 4   whether in the form of directing the scenery or even turning on the stationary camera. This is not
 5   a case where an author intends to create a work but catches something by happenstance—such as

 6   a photographer who snaps a photo at the same time as a strike of lightning, or a painter who slips

 7   while holding the brush. Rather, Plaintiff admits that the very making of the video was

 8   accidental and done entirely without his knowledge.
 9          Not only that, the fixation of the work was performed by a machine, not a human author.
10   Plaintiff admits that computer software – not him – “turned on [the livestream] of its own accord

11   without me realizing it.” Dkt. 55 (SAC) ¶ 22 (emphasis added). This fits neatly within the

12   Copyright Office’s guidance that “works produced by a machine or mere mechanical process

13   that operates randomly or automatically without any creative input or intervention from a human
14   author” are not copyrightable. Compendium of U.S. Copyright Office Practices § 313.2. Indeed,

15   Plaintiff concedes in his Motion for Default Judgment that the “accidental” nature of his video
16   would “invalidate its copyright [] if the streaming software turned on, entirely of its own accord,

17   without any human input (knowing or otherwise) causing it to happen.” Dkt. 127-20 ¶ 42. Yet

18   that is precisely what he alleges to have happened in the complaint, and those facts are
19   presumed to be true for purposes of a Motion for Default Judgment.
20          Plaintiff did not disclose these facts in his application to register the Accidental

21   Livestream with the Copyright Office—which he concedes in his Motion for Default Judgment.

22   RJN, Ex. A; see also Dkt. 127-19 ¶ 3. In the application Plaintiff characterizes the video as a

23   “Dramatic Work.” He does not explain (among other things) that the “livestream software

24   turned on of its own accord without [him] realizing it,” and he does not disclose that “the only

25   interesting and memorable part” of this otherwise “contentless” video was not caused by him.
26   Dkt. 55 (SAC) ¶¶ 22-23. This is more than enough to overcome the “presumption of the

27   validity” of Plaintiff’s copyright and to “deny the plaintiff’s prima facie case of infringement.”

28   Lamps Plus, 345 F.3d at 1144-47 (citation omitted) (finding copyright invalid notwithstanding its


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 1   registration with the Copyright Office, because information that was not disclosed in plaintiff’s

 2   application showed that the work lacked creativity).

 3          What happened here is quite simple. Plaintiff asserts a copyright in the Accidental

 4   Livestream not because it reflects his creative expression, but because he finds it embarrassing
 5   and wants to stop others from seeing it. That is understandable, but it is not a proper invocation

 6   of the copyright laws. The Court should find that the Accidental Livestream is not

 7   copyrightable, and on that basis dismiss this case.

 8                                            CONCLUSION
 9          For the foregoing reasons, the Court should (1) permit Alphabet and YouTube to
10   intervene for purposes of opposing Plaintiff’s Motion for Default Judgment against the
11   Individual Defendants; (2) deny Plaintiff’s Motion for Default Judgment; and (3) dismiss this
12   case with prejudice.
13
14   Dated: April 20, 2022                         Respectfully submitted,
15                                                 WILSON SONSINI GOODRICH & ROSATI
                                                   Professional Corporation
16

17                                                 By:      s/ Jason Mollick

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22                                                 Counsel for Intervenors
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13                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                     OAKLAND DIVISION
15
     DAVID A. STEBBINS,                                  )    CASE NO.: 4:21-cv-04184-JSW
16                                                       )
                    Plaintiff,                           )    REQUEST FOR JUDICIAL NOTICE
17                                                       )    IN SUPPORT OF MOTION TO
            v.                                           )    INTERVENE
18                                                       )
19   KARL POLANO et al.,                                 )    Judge: Hon. Jeffrey S. White
                                                         )    Date: June 3, 2022
20                  Defendants.                          )    Time: 9:00 AM
                                                         )    By videoconference
21                                                       )
                                                         )    Action Filed: June 2, 2021
22
                                                         )
23

24          Pursuant to Rule 201 of the Federal Rules of Evidence, non-parties Alphabet Inc.

25   (“Alphabet”) and YouTube, LLC (“YouTube”) request that the Court take judicial notice of the

26   attached copy of Plaintiff David Stebbins’s application to register his allegedly infringed

27   Accidental Livestream with the United States Copyright Office, which the undersigned counsel

28   obtained from the Copyright Office on April 8, 2022. See Exhibit A.


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 1          A court “must take judicial notice if a party requests it and the court is supplied with the

 2   necessary information.” Fed. R. Evid. 201(c)(2). “The court may judicially notice a fact that is

 3   not subject to reasonable dispute because it … can be accurately and readily determined from

 4   sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). Courts
 5   routinely take judicial notice of matters of public record before administrative agencies,

 6   including applications to register works with the Copyright Office. See, e.g., Lewis v. Activision

 7   Blizzard, Inc., 2012 U.S. Dist. LEXIS 151739, at *2 n.1 (N.D. Cal. Oct. 22, 2012) (taking

 8   “judicial notice of [plaintiff’s] applications for copyright registration which are matters of public
 9   record and the subject of allegations in the complaint”); Hyowon Elecs., Inc. v. Erom, Inc., 2014
10   U.S. Dist. LEXIS 190442, at *7 (C.D. Cal. May 15, 2014) (“[Plaintiff’s] copyright registration

11   application and the copyright registration are certified copies from the United States Copyright

12   Office, and are matters of public record and the type of documents that the Court may judicially

13   notice under Rule 201(b)(2).”).
14          Alphabet and YouTube request that the Court take judicial notice of the attached

15   application in connection with their accompanying Motion to Intervene. The application is also
16   incorporated by reference and integral to the complaint. See Dkt. 55 (SAC) ¶ 24 (“I have

17   registered this accidental livestream with the U.S. Copyright Office.”). Alphabet and YouTube

18   contend that the allegedly infringed work is not copyrightable because it lacks creativity and is
19   not a product of human authorship. Although Plaintiff did register the video with the Copyright
20   Office, he admits in his complaint that the video was actually created when his “livestream

21   software turned on of its own accord without me realizing it. It stayed on for nearly two hours

22   before I realized it was on and closed it down. During this accidental livestream, my viewers

23   were able to see me engaging in mundane, daily activities[.]” Id. ¶ 22. Plaintiff adds that “the

24   only interesting and memorable part of this otherwise boring and contentless livestream” were

25   “strange noises” that he “did not cause.” Id. ¶ 23.
26          The attached application demonstrates that Plaintiff did not disclose any of this

27   information to the Copyright Office. In the application Plaintiff characterizes the video as a

28   “Dramatic Work.” He does not explain (among other things) that the “livestream software


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 1   turned on of its own accord without [him] realizing it,” and he does not disclose that “the only

 2   interesting and memorable part” of this otherwise “contentless” video was not caused by him.

 3   Id. ¶¶ 22-23. This is more than enough to overcome the “presumption of the validity” of

 4   Plaintiff’s copyright and to “deny the plaintiff’s prima facie case of infringement.” Lamps Plus,
 5   Inc. v. Seattle Lighting Fixture Co., 345 F.3d 1140, 1144-47 (9th Cir. 2003) (citation omitted)

 6   (finding copyright invalid notwithstanding its registration with the Copyright Office, because

 7   information that was not disclosed in plaintiff’s application showed that the work lacked

 8   creativity); see also, e.g., Barron v. Reich, 13 F.3d 1370, 1377 (9th Cir. 1994) (finding that
 9   courts may, even at the pleading stage, rely on facts “contained in materials of which the court
10   may take judicial notice”); Chavez v. Wash. Mut. Bank, 2013 U.S. Dist. LEXIS 79239, at *8-9

11   (N.D. Cal. June 5, 2013) (“[T]he Court need not accept as true allegations contradicted by

12   judicially noticeable facts, and the [c]ourt may look beyond the plaintiff’s complaint to matters

13   of public record ….”) (cleaned up).
14          Alphabet and YouTube are also prepared to provide a copy of the Accidental Livestream

15   if requested by the Court. Savage v. Council on Am.-Islamic Rels., Inc., 2008 U.S. Dist. LEXIS
16   60545, at *6 (N.D. Cal. July 25, 2008) (considering allegedly infringing content referenced in the

17   complaint on a motion for judgment on the pleadings as to fair use) (citing, e.g., Daly v. Viacom,

18   Inc., 238 F. Supp. 2d 1118, 1121-22 (N.D. Cal. 2002) (considering television program referenced
19   in, but not attached to, the complaint)); City of Inglewood v. Teixeira, 2015 U.S. Dist. LEXIS
20   114539, at *2-6, *15-17 (C.D. Cal. Aug. 20, 2015) (considering, on a motion to dismiss, alleged

21   YouTube videos that criticized plaintiff even though the videos were not attached to the

22   complaint, and dismissing complaint on grounds that those videos constituted fair use); Hughes

23   v. Benjamin, 437 F. Supp. 3d 382, 386 n.1 (S.D.N.Y. 2020) (considering YouTube videos on

24   motion to dismiss on fair use grounds, because those videos had been “incorporated by reference

25   into the Complaint”). If requested, Alphabet and YouTube will follow the Court’s direction as to
26   the manner in which the video should be submitted.

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 1   Dated: April 20, 2022             Respectfully submitted,

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     REQUEST FOR JUDICIAL NOTICE         -4-                      CASE NO.: 4:21-CV-04184-JSW
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                          EXHIBIT A
                                                                                                   (170 of 191)
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COPY OF E-FILE APPLICATION
NOTE: The attached Application Report is a true representation of the information submitted to
the Copyright Office in association with the electronic application for registration of material
identified as ACCIDENTAL LIVESTREAM FROM APRIL 10, 2021 service number
SR 1-10499343793. In the course of the Copyright Office’s consideration of the application, the
submitted information may have been amended in accordance with the wishes of the applicant.
However any such amendments are not reflected in this Application Report. Any such
amendments will be reflected via a comparison between the Application Report and the
Registration Certificate. Amendments may also be reflected in the correspondence records
associated with an application.

The attached Application Template is meant to reflect the fields that are available to be
populated in the application process. The purpose of the Application Template is not
to attempt to indicate the exact language used on the date upon which the application in
question was submitted. Rather, the purpose is to portray, and in a general sense
explain, the fields that may be populated in an online application.
                                                                                                     (171 of 191)
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                                                   SER181
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                      Registration #:    *-APPLICATION-*
                   Service Request #:    1-10499343793




Mail Certificate


David Anthony Stebbins
123 W. Ridge Ave.,
APT D
Harrison, AR 72601 United States




                             Priority:   Routine                  Application Date:   May 25, 2021


Correspondent



                              Name:      David Anthony Stebbins
                              Email:     acerthorn@yahoo.com
                             Address:    123 W. Ridge Ave.
                                         APT D
                                         Harrison, AR 72601 United States
                                                                                                                                  (172 of 191)
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                                                                                         Registration Number
                                                                                         *-APPLICATION-*




    Copyright Registration for One Work by One Author
    Registration issued pursuant to 37 CFR §202.3

    Title
                         Title of Work:         Accidental Livestream from April 10, 2021


    Completion/Publication
                   Year of Completion:          2021
                Date of 1st Publication:        April 10, 2021
               Nation of 1st Publication:       United States

    Author

                     zAuthor:   Acerthorn
                       Author Created:          Dramatic Work
                                  Citizen of:   United States
                             Domiciled in:      United States
                         Pseudonymous:          Yes

    Copyright Claimant

                   Copyright Claimant:          Acerthorn
                                                123 W. Ridge Ave., APT D, Harrison, AR, 72601, United States
0


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    Certification

                                    Name:       David Stebbins, Author/Owner
                                     Date:      May 25, 2021
                                     Date:      May 25, 2021
                                                Pending
                Copyright Office notes:         Regarding basis for registration: A work may be registered with the Single
                                                Application only if the following requirements have been met: 1) The
                                                registration covers one work; 2) The work must be created by one individual; 3)

                                                                                                                     Page 1 of 2
                                                                                                          (173 of 191)
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                        All of the material contained within the work must be created by the same
                        individual; 4) The author and the owner of the work must be the same person,
                        and that person must own all of the rights in the work; 5) The work cannot be a
                        work made for hire.this an extra line added to differentiate between two
                        annotations with an space




                                                                                              Page 2 of 2
                                                                                                         (174 of 191)
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 1                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 2                                     OAKLAND DIVISION
 3
     DAVID A. STEBBINS,                                   )      CASE NO.: 4:21-cv-04184-JSW
 4                                                        )
                    Plaintiff,                            )      [PROPOSED] ORDER
 5                                                        )
            v.                                            )      Judge: Hon. Jeffrey S. White
 6                                                        )
 7   KARL POLANO et al.,                                  )      Action Filed: June 2, 2021
                                                          )
 8                  Defendants.                           )
                                                          )
 9
10          Upon consideration of (1) Plaintiff’s Motion for Default Judgment as to Defendants Karl

11   Polano, Raul Mateas, and Frederick Allision; (2) the Motion to Intervene by non-parties

12   Alphabet Inc. (“Alphabet”) and YouTube, LLC (“YouTube”), their accompanying Request for

13   Judicial Notice, and the Exhibit thereto; and (3) all other matters of which this Court may take

14   judicial notice, the pleadings, files, and records in this action, and such other argument as has

15   been heard by the Court; and upon good cause showing, it is hereby ORDERED as follows:

16          (1) The Court GRANTS Alphabet and YouTube permission to intervene in this action for

17   purposes of opposing Plaintiff’s Motion for Default Judgment;

18          (2) The Court DENIES Plaintiff’s Motion for Default Judgment on the grounds that the

19   allegedly infringed work in suit – Plaintiff’s “Accidental Livestream” recorded on April 10, 2021

20   – is not copyrightable because it lacks creativity and human authorship, see, e.g., 17 U.S.C. §

21   102(a); Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991); and therefore

22          (3) The Court DISMISSES this action WITH PREJUDICE.

23

24          IT IS SO ORDERED.

25
26   Dated: __________________                                ____________________________________
                                                              HON. JEFFREY S. WHITE
27                                                            United States District Judge
28


     [PROPOSED] ORDER                                                          CASE NO.: 4:21-CV-04184-JSW
                                                                                                      (175 of 191)
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                                           SER188
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                                                            SER189
Yahoo Mail - Yesterday's offer                                   https://mail.yahoo.com/d/search/keyword=%2522bring%2520it%2520o...
                           Case 4:21-cv-04184-JSW Document 135-1 Filed 04/13/22 Page 1 of 2


             Yesterday's offer

             From: acerthorn (acerthorn@yahoo.com)
             To:     jmollick@wsgr.com

             Date: Wednesday, April 6, 2022, 09:44 AM CDT



             Dear Mr. Mollick,

             I am willing to accept your offer from yesterday (where you will not seek attorneys fees or
             challenge the validity of the copyright of the April 10 stream, as well as not reinstating the
             video I complained about in Dkt. 100, ¶ 4 in the Polano case, even if the Third Amended
             Complaint doesn't contain that claim so I don't have to re-serve him), PROVIDED that I have a
             formal offer with actual terms on the table. But before you send me one, I want to make it
             explicitly clear where we stand on this issue.

             Your threat to challenge the validity of the copyright of the April 10 stream in the Polano case
             is far more concerning to me than the offer to waive attorneys fees, but not for the reasons
             you'd think. Rather, I'm worried that you threatened to issue that challenge in the Polano
             case, rather than the Rebolo case.

             I honestly consider it rather below the belt that, as soon as I get default against all three
             individual defendants, you throw out a threat to bring this case - which is now on its deathbed
             - back from the dead. You are, in essence, threatening to heavily extend this case when it was
             otherwise close to wrapping up.

             THAT is the prejudice I seek to avoid, here. If you had only threatened to issue that challenge
             in the Rebolo case, I'd probably tell you to bring it on! Considering how much I was able to
             tear your fair use defense to shreds (criticism is literally the ONLY thing these people have;
             check out this clip I found last night for details: https://www.youtube.com
             /clip/UgkxfC62VTSsxL66AaibJ7-3P-zxGCuQqFJU), it honestly seems like you're issuing this
             below-the-belt threat because you know deep down that's really the only ammunition you've
             got.

             If your primary grounds for challenging the validity of the April 10 copyright is identical to
             those given by SidAlpha, then I'm not afraid of that challenge at all. In fact, I have a motion for
             partial summary judgment on that issue already primed and ready to go. All I need to do is
             update the respective dates of filing (e.g. "So requested on this, the ____th day of ______,
             2022" and so on and so forth), and it's ready to be filed. Hell, I've been preparing for this
             challenge since I talked with Facebook about settling with them!

             And let me tell you: I've got some arguments of law that you definitely do NOT want to end up
             on the books!

             I will not tell you exactly what my legal strategy is to dispose of that challenge. I've since
             learned to not let my opponents see my cards. But I will at least give you a clue.

             First, bear in mind that I still have one more amended complaint that I need to file. When I



1 of 2                                                                                                          4/13/2022, 4:26 AM
                                                                                                                    (180 of 191)
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                                                       SER190
Yahoo Mail - Yesterday's offer                                  https://mail.yahoo.com/d/search/keyword=%2522bring%2520it%2520o...
                           Case 4:21-cv-04184-JSW Document 135-1 Filed 04/13/22 Page 2 of 2

             filed Dkt. 100 (my most recent motion for leave to file amended complaint), I never actually
             attached a copy of the new Third Amended Complaint. This means that I can still file whatever
             I want when the time comes.

             So that being said, here is my "clue" as to what my legal strategy is to dispose of this
             challenge:

             First, take a look at Dkt. 55, ¶ 22 in the Polano case, vs. Dkt. 15, ¶ 20 in the Rebolo case, side
             by side.

             Second, consider ALL of the following legal authorities in unison:

                 • Forsyth v. Humana, Inc., 114 F.3d 1467, 1474 (9th Cir. 1997)
                 • Loux v. Rhay, 375 F. 2d 55, 57 (9th Cir. 1967)
                 • Haines v. Kerner, 404 US 519 (1972)
                 • 17 USC § 411(b)(1)(A)
                 • 17 USC § 410(c)
                 • Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 US 574 (1986)

             Maybe with this two-part clue, you can get sort of a grasp as to what my strategy is to deal
             with this challenge to the validity, and you can maybe see that your prospects of invalidating
             the copyright of the April 10 stream, whether in the Polano case or the Rebolo case, aren't
             quite as slam-dunk as you'd like them to be.

             So please, hurry up with that formal offer, so we can get this show on the road.

             Sincerely,
             David Stebbins




2 of 2                                                                                                         4/13/2022, 4:26 AM
                                                                                                                                         (181 of 191)
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                                   3
                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     DAVID A. STEBBINS,                                    Case No. 21-cv-04184-JSW
                                                         Plaintiff,
                                   8
                                                                                               ORDER REGARDING NOTICE OF
                                                    v.                                         VOLUNTARY DISMISSAL AND
                                   9
                                                                                               STRIKING MOTIONS
                                  10     KARL POLANO, et al.,
                                                                                               Re: Dkt. No. 129, 130, 133
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           On April 11, 2022, Plaintiff filed a notice of voluntary dismissal without prejudice as to

                                  14   Defendants Alphabet Inc., Discord Inc., and Amazon.com Inc. pursuant to Federal Rule of Civil

                                  15   Procedure 41(a)(1). Shortly thereafter, the Corporate Defendants filed a joint motion to dismiss.

                                  16   (Dkt. No. 129.) Plaintiff then filed a motion to strike the motion to dismiss in light of his notice of

                                  17   voluntary dismissal. (Dkt. No. 130.) Corporate Defendants filed a response to Plaintiff’s motion

                                  18   to strike. (Dkt. No. 131.) Plaintiff filed a reply followed by a motion styled as an “Emergency

                                  19   Motion to Expedite” the motion to strike. (Dkt. Nos. 132, 133.)

                                  20           A dismissal under Rule 41(a)(1) is effective on filing, and the Court lacks the authority to

                                  21   disregard it or place a condition on the dismissal. Com. Space Mgmt. Co. v. Boeing Co., 193 F.3d

                                  22   1074, 1078 (9th Cir. 1999). For these reasons, this action is terminated as to the Corporate

                                  23   Defendants, and the Court STRIKES Defendants’ motion to dismiss.

                                  24           However, the Court does not endorse Plaintiff’s efforts to manipulate the litigation process

                                  25   and his blatant gamesmanship. Should Plaintiff continue to dismiss and refile cases in bad faith to

                                  26   obtain a different result, he risks being declared a vexatious litigant in this district.

                                  27           //

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                                                                         SER192
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                                   1          Finally, the Court STRIKES Plaintiff’s “Emergency Motion to Expedite” for failure to

                                   2   comply with the Civil Local Rules. See N.D. Civ. L.R. 6-1.

                                   3          IT IS SO ORDERED.

                                   4   Dated: April 12, 2022

                                   5                                                 ______________________________________
                                                                                     JEFFREY S. WHITE
                                   6                                                 United States District Judge
                                                                                                             udge
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Northern District of California
 United States District Court




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12

13                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14
                                       OAKLAND DIVISION
15
16   DAVID A. STEBBINS,                           )   CASE NO.: 4:21-cv-04184-JSW
                                                  )
17                  Plaintiff,                    )   JOINT RESPONSE TO
                                                  )   PLAINTIFF’S MOTION TO
18
            v.                                    )   STRIKE THE CORPORATE
19                                                )   DEFENDANTS’ MOTION TO
     KARL POLANO et al.,                          )   DISMISS
20                                                )
                    Defendants.                   )   Judge: Hon. Jeffrey S. White
21                                                )
                                                  )
22

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     JOINT RESPONSE TO                                              CASE NO.: 4:21-CV-04184-JSW
     MOTION TO STRIKE
                                                                                                      (188 of 191)
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 1          Defendants Alphabet Inc. (“Alphabet”), Amazon.com, Inc. (“Amazon”), and Discord Inc.

 2   (“Discord”) (collectively, the “Corporate Defendants”) respectfully respond to Plaintiff David

 3   Stebbins’s Motion to Strike the Corporate Defendants’ Joint Motion to Dismiss, which they filed

 4   at virtually the same time as Plaintiff’s Notice of Voluntary Dismissal. See Dkt. 128 (Plaintiff’s
 5   Notice of Voluntary Dismissal); Dkt. 129 (Corporate Defendants’ Joint Motion to Dismiss); Dkt.

 6   130 (Plaintiff’s Motion to Strike). Because Plaintiff’s dismissal was for the strategic purpose of

 7   obtaining a default judgment that he could leverage in a related action against the Corporate

 8   Defendants, the Court should simply deny the pending Motion for Default Judgment. A grant of
 9   default judgment could lead to inconsistent results, which the Court previously recognized as
10   sufficient for denial. See Dkt. 99 at 3 (finding that “denial of a default judgment motion is

11   necessary to avoid an inconsistent result”).

12          Alternatively, and in the event the Court does not agree with the foregoing, the Court

13   should consider the arguments raised in the Motion to Dismiss (namely, that Plaintiff does not
14   have a valid copyright) when it rules on the pending Motion for Default Judgment, Dkt. 127.1

15   Specifically, Plaintiff admits that he voluntarily dismissed the Corporate Defendants, and is
16   moving to strike their motion, in an attempt to prevent the Court from hearing dispositive
17   arguments and evidence concerning the invalidity of his alleged copyrighted video. That video
18   is not only at issue in this action which remains pending against the Individual Defendants, but
19   also in the related action (Stebbins v. Rebolo et al., Case No. 4:22-cv-00546-JSW) where the
20   Corporate Defendants and/or their subsidiaries are named (but not yet served) in the Amended
21   Complaint that Plaintiff filed after the Court stayed the case at Plaintiff’s request. Related Case
22   Dkt. 14. The Court stayed the Rebolo case because “a ruling in [this first] case will be relevant
23   and potentially fully dispositive in the [second] case.” Id. Thus, because any ruling in this case
24   will necessarily impact overlapping issues in the related case, the Court should consider the
25   arguments set forth in the Corporate Defendants’ Motion to Dismiss concerning the invalidity of
26
        1
27        To be clear, the Corporate Defendants defer to the Court on whether additional briefing and
     adjudication of the Joint Motion to Dismiss is necessary at this time. Absent further instruction
28   from the Court, they presume no further briefing on the Joint Motion to Dismiss is required.

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     MOTION TO STRIKE
                                                                                                         (189 of 191)
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 1   Plaintiff’s alleged copyright, and on that basis deny Plaintiff’s Motion for Default Judgment

 2   against the Individual Defendants. Indeed, even if the Court is inclined to strike the Corporate

 3   Defendants’ Motion to Dismiss, those Defendants will still be entitled to intervene as to the

 4   copyrightability defense in this case, given that the issue overlaps in the related case where they
 5   remain as defendants. See Fed. R. Civ. P. 24(b)(1)(B) (“On timely motion, the court may permit

 6   anyone to intervene who … has a claim or defense that shares with the main action a common

 7   question of law or fact.”).

 8          As the Corporate Defendants explained in their Motion to Dismiss, Plaintiff is a
 9   “vexatious” litigant with a long and well-documented history of filing frivolous lawsuits and
10   hundreds of repetitive, baseless motions in those respective cases. Stebbins v. Stebbins, 2013

11   U.S. Dist. LEXIS 93528 (W.D. Ark. July 3, 2013); see also Dkt. 129 at 2-3 & n.1. This lawsuit,

12   and the related case, are just the latest episodes. As Plaintiff made clear in his Notice of

13   Voluntary Dismissal, his reason for abruptly dismissing the Corporate Defendants on the day
14   their responses were due is because Plaintiff was concerned that the Defendants would, in their

15   motion, expose the fact that the sole alleged copyrighted video at issue in this case is actually
16   invalid. See Dkt. 128. Defendants explain in their motion that the “Accidental Livestream” is

17   not copyrightable because it lacks creativity and human authorship, based on facts admitted in

18   the complaint. Dkt. 129 at 5-7. Defendants also provided a copy of Plaintiff’s application to
19   register the video with the United States Copyright Office, which reveals that he did not disclose
20   the true nature and circumstances of the video to the Copyright Office. Dkt. 129-1. This

21   necessitates dismissal of Plaintiff’s entire copyright lawsuit with prejudice – not only against the

22   Corporate Defendants, but also against the Individual Defendants. It also necessitates dismissal

23   of many of Plaintiff’s claims in the related case, which largely concerns infringements of the

24   same video and similar claims against the same Corporate Defendants. See Related Case Dkt. 15

25   ¶¶ 20-25.
26          Realizing that the Corporate Defendants would bring these facts to the Court’s attention,

27   Plaintiff emailed the undersigned counsel for Alphabet shortly before the Corporate Defendants

28   filed their Motion to Dismiss. In that email Plaintiff taunted that he could hide the issue from the

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     MOTION TO STRIKE
                                                                                                        (190 of 191)
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 1   Court’s attention and secure an unopposed default judgment against the Individual Defendants,

 2   simply by dismissing the Corporate Defendants voluntarily on the day they file their motion.

 3   And in the process, he can require the Corporate Defendants to expend even more legal fees by

 4   relitigating the same issue in the related case:
 5                  I could simply ... dismiss your client from the Polano case! If I did
                    that, the dismissal would be without prejudice, allowing me to re-
 6                  file the request for prospective injunctive relief as part of the
                    Rebolo case. So I wouldn’t even be missing out on that injunction.
 7
                    The[n], you won’t have a choice but to wait until the Rebolo case
 8                  to challenge the validity of the copyright, at which point you will
                    get nowhere with that challenge because my copyright is indeed
 9                  valid. If I dismissed Alphabet as a party, you would likely not get
                    your attorneys [sic] fees, for the reasons I set forth last weekend.2
10

11          Minutes later, at the same time as the Corporate Defendants were in the process of filing
12   their Motion to Dismiss, Plaintiff filed his Notice of Voluntarily Dismissal. Dkt. 128. In this
13   Notice he admits that he is dismissing the Corporate Defendants because he does not want the
14   trouble of defending his copyright, which he claims “would only result in tedious delays in a
15   case where I was about to get a default judgment otherwise.” Dkt. 128 ¶ 1. Plaintiff then says
16   that he intends to re-litigate the same issue against the same Corporate Defendants “in the near
17   future,” after he gets an unopposed default judgment:
18                  This is not a surrender. This is a tactical retreat. I wish to have this
                    action dismissed without prejudice, so I can re-file the case again,
19                  seeking to obtain the prospective injunctive relief under 17 USC §
                    512(j) in the near future. This is just being done so that Alphabet
20
                    (and possibly the other nominal defendants) cannot delay this case
21                  that is already in the eleventh hour, just out of sheer pettiness.

22   Id. ¶ 3 (emphasis in original). All of this is emblematic of Plaintiff’s years-long abuse of the
23   court system. The Court should not countenance Plaintiff’s attempt to evade its consideration of
24   an important issue that remains dispositive in this case and much of the related case.
25
26

27      2
           We do not attach the remainder of this email correspondence because prior communications
28   in the thread contain confidential settlement communications.

     JOINT RESPONSE TO                                  -3-                     CASE NO.: 4:21-CV-04184-JSW
     MOTION TO STRIKE
                                                                                                     (191 of 191)
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 1          Accordingly, even if it is no longer necessary to hear the Corporate Defendants’ Motion

 2   to Dismiss, the Court should still review and consider certain arguments and evidence in that

 3   motion to the extent they remain relevant to Plaintiff’s Motion for Default Judgment against the

 4   Individual Defendants. Specifically, the Court should consider (1) Plaintiff’s history as a
 5   vexatious litigant [Dkt. 129 at 2-3 & n.1] and (2) the non-copyrightability of the Accidental

 6   Livestream that was allegedly infringed by the Individual Defendants [id. at 5-7; id. at 4:2-10;

 7   Dkt. 129-1]. The remaining arguments concerning Plaintiff’s claim of injunctive relief against

 8   the Corporate Defendants are now moot and need not be considered at this time.
 9
10   Dated: April 11, 2022

11
     For Alphabet Inc., Defendant                           For Amazon.com, Inc., Defendant
12
     s/ Jason Mollick                                       s/ Sanjay Nangia
13
     Jason Mollick (pro hac vice)                           Sanjay Nangia
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     JOINT RESPONSE TO                               -4-                     CASE NO.: 4:21-CV-04184-JSW
     MOTION TO STRIKE
